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          Exhibit 10
                                         r
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                                                  v.__' <r
                                                   , ... 5,




       It's true that Upsala isn't exactly on the list of "well known col-
    leges," but that doesn't mean it's not up to their caliber. Yes, we are
    small, but that doesn't mean we skimp on quality. Life means making
    the best out of what you have available and that is exactly what Upsala
    has done. We are a quality institution and we export the world's
    greatest commodity.
       People . . . If you ask any student why they continue to come back
    year after year, one of their main reasons are the people. Lasting
    friendships a~d honest ones are forged and created at Ups~la. The
    friends you make here are the ones you will keep forever. College is a
    time for learning and a time to teach others. At Upsala, we have achiev-
    ed an academic dream, both education
    wise and growth wise. These four years
    have been what life is all about ...

                                                                       ■ I




2
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                   her year comes to a close. But with this year ending so will
           - - 'Sk.al presence at Upsala. You will venture out into the world to
               - • b market, travel and chase after your dreams.
                   be left with the memories of the friends you've made and the
                  had. W e will all miss your presence, but your spirit will last
r---......-::r =-om those you've touched. From professors, staff and especially
     - ::xis.
      = • lo ing pages, I've tried to capture the events, people and
         - • - might have made your years at Upsala special. The theme for
            - - : . earbook is a newspaper orientation, as all the sections are
             • • ose in a newspaper.
                       n the pages and laugh and cry, keep the dreams you've
           -       carry t he ideals, values
                                         ,,,.. and hopes out into the world. Help
                      orf d a better place for all of us.
  r, ...,...._,..-=, •1ations and Good Luck!!



                                   Cordially,
                                    Cynthia
                                   DeMatteis




                                                                                          Cynthia DeMatteis - Editor-in-Chief
                                       EDITORS

           C nthi a DeMatteis. Editor-in-Chief
           Ro mona Armstead . Assistant Editor
           Dana Hunter ..... Layout Editor                                                   The Upsalite Staff would like
           Derrick Martin .... Activities Editor                                           to extend special thanks to
           Roy Downes .. .. . Art Editor                                                   Dean John McIntyre, Dave
              illi e Taylor ..... Sports Editor                                            Anderson and Lillie Anderson
             eila Ravinez ..... Sports Editor                                              for all their support and help .
           • anny Tavarez .. . Photography Editor
           Lynda Williams ... Secretary

                                         STAFF

           Sh erry Williams
              an cy Compton
           Pat Derosa
           Li z Czepiel
           M ark lras
           Sioux Klie
           Gail Emery




                                       Bl/lt<JAIWFUUCUBAAIW                                                                     3
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                                                              FOREWORD
                                              College is a time to learn and a time to change. A
                                           million words can't adequately describe what college
                                           is because to each of us, it is something personal. We
                                           hope this yearbook will enable you to gain a
                                           perspective view of your college career. Events have
                                           been singled out in hopes that each of you will be able
                                           to find in this yearbook the changing and unique
                                           memories of your college life.




                                                                                                s
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    DR. RHODA FREEMAN, 1928-1986




                                           LAST LINES
                          The beauty of the world hath made me sad,
                          This beauty that will pass;
                          Sometimes my heart hath shaken with great joy
                          To see a leaping squirrel in a tree,
                          Or a red lady-bird upon a stalk,
                          Or little rabbits in a field at evening,
                          Lit by a slanting sun,
                          Or some green hill where shadows drifted by,
                          Some quiet hill where mountainy man hath sown
                          And soon would reap, near to the gate of Heaven;
                          Or children with bare feet upon the sands
                          Of some ebbed sea, or playing on the streets
                          Of the little towns in Connacht,
                          Things young and happy.
                          And then my heart hath told me:
                          These will pass,
                          Will pass and change, will die and be no more,
                          Things bright and green, things young and happy;
                          And I have gone upon my way
                          Sorrowful.
                                             By Padriac Pearse



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                  UPSALA WELCOMES NEW PRESIDENT




    Dear Students:
        Your relationships with fellow students and faculty members are the most important element of college education at Upsala. Those relationships
    have made a difference in the quality of learning that will become more and more apparent as the years go by.
        This yearbook is a record of your relationships and you will value its reminder of an important time of your life. I hope your memories of Upsala
    will be good ones and that what you learned here will serve you well in your lives and careers. Upsala is a part of your life and your future; I hope
    you will be a part of Upsala's future. You are important to us.
        Congratulations and Godspeed.
                                                                             Sincerely,
                                                                             David E. Schramm
                                                                             President




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                            PRESIDENT DAVID SHRAM
         E. Schramm, former vice president for academic affairs             Schramm, SO, a native of Kli<kitol, WA, graduated from          He has also participated in community projects as co-
          • Lutheran Collage in Thousand Oaks, has bean elected        Concordia Collage in Portland, OR where he received both a        chairman of the Task Force on Quality of Education in the Cor-
           Rodney Felder as the seventh president at Upsala. Dr.       8.A. and a M.Div. He received his Ph.D. from Washington           ajo Valley Unified School District, as vice president of the Lo
         11!15 chosen from over fifty candidates reviewed by the       University in St. Louis, MO in 1971. Schramm was a member         Sereno Retirement Village Boord of Directors, and as o foun-
       • Trustees in the post six months. Boord chairmon, Poul         of the fawlty at Concordia Senior Collage in Fort Wayne, IN       ding board member of the Consortium for Advanced and
        • nouncad the news with pleasure and said that he feels        from 1964 until 1978. Ha also served as academic dean             Technical Education in the Conejo Valley.
         IEOUI Schramm. Ha said that Schramm "is the right man         from 1974 until 1978. In 197 6-77 he was visiting professor          David Schramm possesses the enthusiasm that Upsala
             " and that the entire selection committee is "an-         at the Collage of Education, University of Illinois in Urbana-    desperately needs. Ha isn't o miroda worker but he is
         obout his coming aboard." Schramm said he is looking          Champoign. He joined the California Lutheran Collage ad·          prepared to make a serious commitment to find out exactly
           Iha opportunities and the challenges ttiiit Upsala has lo   ministration in 1978.                                             what Upsala needs ond to start initiating a way of fulfilling
                                                                           Schramm has bean active in a number of professional ac-       those needs.
             's new president, David Schramm believes that his         tivities as an administrative coordinator at the University of
               is lo attempt lo focus the collage's goals and help     Illinois, as a participant in the Center for the Academic Pro-
    il5 hlture; lo pinpoint the needs of the collage; determine        fessions of the Council of Independent Collages, as a member
          • the collage is headed and lo make the necessary            of the Boord of Directors for Christ Seminary in St. Louis, MO,
              will ensure a promising future. Schramm stated that      and as chairman of the Curriculum Consultation Project for the
                 finding a way of making the students aware of the     Lutheran Educational Conference of North America.
            of attending a small private institution in on urban
           feels that sum conditions ore challenging and fulfilling
                 involved with the collage because it allows for a
               isn't as apparent in many other small collages. Ha
              a the students understand what ii means to be port
                ant that requires them to know haw lo function as
          • in a "multi-racial, multi-cultural environment."
     Sdmnm expressed on interest in spending lime with
        ID tis opinion, it's not realistic lo promise that his door
             for anybody that wants lo drop by and talk since he
            mely busy; but said that he will be a visible figure on
             example, he plans spending soma of his lunches in
            coleteria and commuter snack bar so he can get bet-
- - -= with the students. He feels the best way he will be
             the collage is lo only make tentative plans until he
                a lo listen lo as many people as possible so he will
          everybody wants.
    5cmnm is looking at the collage and applying constructive
       iD soma very obvious problems. He says he will continue
 ,..... several aspects of Upsala, especially its traditional
  E              I urban college. Ha is, however, looking at the
      16Utes and is aware of the great need far repairs and
- --Ills. He feels that the reputation of the collage must be
                 upheld despite any problems ii has laced in the
            ii simply by saying that because he cannot turn back
        IE is already looking for the solutions to many of the
               lo faces.




                                                                                                                                                      .I
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     Dean H. Edwin Titus                                       Dear Seniors:
                                                                  The achievement of a college degree is a goal
                                                               reached by only the tiniest minority of the world's
                                                               population. Those who have invested so heavily of
                                                               their time, money and energy to join this select group
                                                               are highly rewarded for their efforts, not just in terms
                                                               of a better job and a higher income, but they are also
                                                               rewarded with a richer and more fulfilling life and an
                                                               enlarged opportunity to participate in the world
                                                               around them. The possession of a college degree is a
                                                               sacred trust and having entered into that trust you can
                                                               never be the same again. Because of your privilege
                                                               you now owe much more to the world around you.
                                                               Never forget that the educated person is the hope of
                                                               the world.

                                                                                   Sincerely,
                                                                                   H. Edwin Titus




Dear Seniors:                                                  Dean John P. McIntyre
   First of all - Congratulations! I was about to write
you a typical "Dean of Students" letter, but I think
we've come to know each other on a far more
personal basis than that one (one of the advantages of
attending a small college.) It has been a tremendous
pleasure watching you progress through the years at
Upsala. I know many of you have encountered what
seemed at the time to be insurmountable problems
and frustrations along the way - but you've made it
to graduation day, and hopefully, you are better
people for having "hung in there." One thing is a
certainty; you have developed the necessary skills to
successfully deal with the reality of "life after Upsala."
   You have probably heard this a million times
before, and I don't mean to preach, but there is
nothing that each one of you can't achieve if you set
your mind to it. This is YOUR TIME to grasp
opportunity and to make a mark for yourselves -
don't let it slip through your fingers.
   Again, it has truly been a pleasure, and quite an
experience, to share the past several years with you. I
wish all of you the best of everything.
                    Sincerely yours,
                   John P. McIntyre
                    DEAN OF STUDENTS
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                      COMMERCIAL CANDIDS
                        "My boyfriend sent my picture in to
                        Ivory, but I honestly never expected to
                        be an Ivory Girl... "




                                               "See! We use Pearl Drops!"




 se your hands, if
're SURE!!!"




                         "Have some COKE and a smile!"                           11
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                                        CLUB




           "Any time baby"                                           "The three guidos strike again."




           "We're the breast ... I mean the best."                           "Pssst . . . pssst, don't look now
                                                                             but there's a camera in the
                                                                             room."

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          THURSDAY




                                             "Dancing Delight."




                "Who us? We're old enough to drink."
                         TOP TEN DRINKS

             1.) Alabama "snow" Slammer
             2.) Between the Sheets
             3.) Nervous Breakdown
             4.) Kami-kazi
                                                                   "Now if someone could
             5.) Orgasm
                                                                   open the beer for me, I
             6.)Blue Hawaiian
                                                                   could drink it."
             7.) Slow Comfortable Screw
             8.) Qualude
             9.) Sex on the Rocks
            10.) The Brain                                                                   13
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             BUSINESS/ECONOMICS/ACCOUNTING




          Manijeh Zavareei, MCS            E. Yong Lee                          Peter Miliotis




              Dennis Kelly                Morley N kosi                          Alvin Bogart




              William Olson                RogerSecca                        Fred Hahn, Education




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                               EDITORIALS

                     BIOLOGY




                                                                          Sook Choi
                                                                         Chairperson
       Ed Kubersky




                     CHc:,v11~ 11\. 1 ~1"'u rr-lYSICS
- -----------
    LIT ICAL SCIENCE




           Arthur Paulson
                                                           Gary Porter




                                                                              Joseph Most
                                                                              Chairperson




                                                                                            19
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                                             ENGLISH




                                                 E. Yong Lee




                 Don Cross                                                                 Dei Earisman
       Director of Internship Program




                                            FINE AJ




                                                   David Milgrome                           Hugo Lutz
                  Larry Bennett                     Chairperson




                                                                            Bill Deguire




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                       FOREIGN LANGUAGES




                                                           Robert Brown



       Carolyn Thorburn



      ITICAL SCIENCE




           Arthur Paulson




                                                         Pichon Loh




                                                                                       21
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                         HISTORY

                                                                            MATH
                                                                            AND
                                                                          COMPUTER
                                                                           SCIENCE




                 John Syngg                                         Maryanne Kaplan




                                           C. Lincoln Brown
                                              Chairperson




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I                                EDITORIALS                                            I
                           PHILOSOPHY




           Warren Funk                                   James Stam
           Chairperson




                                                          Roger Borass


                                                   PSYCHOLOGY




              Ammon Roth                                    James McRoy




                                                                                       23
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                                      SOCIOLOGY




                                                                           Kendy Rudy
                                                                           Chairperson




                   Roxanne Hiltz


           SOCIAL WORK
                                                                       Robert Meinke




                                                                       Joyce Lopez


                   Mary Swigonski

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I                                    EDITORIALS                                               I
                              ANTHROPOLOGY




                                                                                  \
                                                                                             --
                                                                                      ~


                                                                                        Tr
              Bassam Abed                                      Ali Kamali




                                                                Jane Jacobs
            Debbie Heilburn
       Director of Learning Center




                                                                                                  25
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                                                  LIBRARY
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                    David Murry                                                        Elizabeth Rumics
                     Director




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                    J,L.   »'j:~                                              )
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                                                                                  J
                                                                                      ~-

              Moses Matai                                            Ruth Shoge
                                                                                                          Cathy Winn




                                                                       Phyllis Brown
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                             BOOKSTORE




                                   Bill King
                                   Manager




            Bob Maclean
           Assist. Manager


                                                                                     27
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 I                                   UPSALITE 1987                                               I
                                        SECURITY




                                                                           Alma
                               L ,-.-                         Secretary, Director of Athletics
                    Bobby Blocker
                     Supervisor



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I                                EDITORIALS                                           I
                                 ALUMNAE




                                                        Suzanne Vietengruber
                                                          Director, Alumni




                                                               Maryanne Brennen




                                                                                      29
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                                                         EOFPROGRAM

                                                  .~~~
                                   - _A.--·~ ,' ---· -




                                                                  Michael Brown
                                                                  Director, EOF




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                                                                 Joanne Johnson
                                                                  Secretary, EOF


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                                                                                                     ~

I                                  EDITORIALS                                                    I
                                  ADMISSIONS




               Jim Skinner                                      Joan Liljegren
            Admissions Director                                Assoc. Director




         Amy Stern                      Susan Gattoni                          Guy Tiene
       Assist. Director              Admissions Counselor                 Admissions Counselor




       Wanita Reedy                    Madeline Halpin
                                                                                 Susan Akey
    Admissions Counselor                 Secretary

                                                                                                 31
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                                            PROSPECT HOUSE




                           Henry Ng                                             Dorthey Smith
                        Assist. Treasurer                                           NDSL




                         MayWoorery                                              Anita Leake
                           Payroll                                                Cashier




                        Dawn Williams                                           Elizabeth Papas
                      Accounts Receivable                                      Accounts Payable

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                               EDITORIALS                                               I
GLISH IS A SECOND PUBLICATIONS OFFICE
  LANGUAGE




              Jerry Monroy                               Lillie Anderson
              Director, ESL                                   Director




                                                                                       I•




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          I
      I

              Ann Willis                                Audrey Rannou
           Secretary to Dean                          Secretary to President




                                                                                            33
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                            REGISTRAR'S OFFICE




                  Mary Adams                                         Carol Thortan
                   Registrar                                        Assist. Registrar




                 Diane Johston                                      Denise Martin




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I                                                 EDITORIALS                                                            I
                                STUDENT SERVICES
     OUNSELING SERVICES




                                                                                                           L



                         Terry Jaeger                                                    Kati Jambor
                Director, Counseling Services                                            Counselor


         PLACEMENT OFFICE
              :lff/:f:t

                                     ,fl   •.••




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                                                                                          Maria Shaper
                                                                            Executive Secretary, Dean of Students and
      Sharon Rosengart                                Rose Papas                       Career Counseling
    Ji ector of Placement                         Secretary Placement



                                                                                                                        35
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           UPSALITE - 1987                          STRIKE
                                                       By Karen Bartlett

                                                    On November 13 ,       Upsala .
                                                    1986 the 8-month          James Fiala,
                                                    labour dispute was     owner of WFF
                                                    resolved between       confirmed
                                                    Upsala and District    the agreement and
                                                    65 of the United       told the Star
                                                    Auto Workers           Ledger,
                                                    (UAW) after a          "The dispute was
                                                    tentative              between the college
                                                    contract settlement    and
                                                    was agreed upon.       the union, and we
                                                      According to the     have no problem
                                                    Star Ledger, the con   with
                                                                           recognizing the
                                                    tract settlement       Union. I think
                                                    will be signed on      every -
                                                    Nov -                  body is happy."
                                                    ember 17. Upsala's       The Star Ledger
                                                    current                also spoke with
                                                    maintenance            Leslie
                                                    service,Witt, Fiala,   Roberts, Director of
                                                    and Flannery           District 65 New
                                                    Associ -               Jersey.
                                                    ates, has agreed "to   Who said,"We feel
                                                    provide improved       the new
                                                    wage                   administration (at
                                                    and fringe benefits    Upsala) has acted
                                                    for the custodial      with decency and
                                                    workers" here at       courage."




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                      LOCAL *NEWS




                                    PROFESSOR DONALD
                                    McKEE'S DINNER




                                                                                 39
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     NEWS OF OUR TIMES
     The events of our times
     reflect the thoughts of our
     future. The decisions made today
     will shape the world of tomorrow.
     A seemingly ineffectual decision
     like killing off mosquitos, could
     change, destroy an environment.
        The headlines of newspapers, mag -
     azines and the lead stories seen
     on television tell us what is impor -
     tant and what is trivial. The media
     spoon feeds us what we should know
     and how much. There are many incidents
     which never reach a television
     news room until it has reached a
     point where someone dies or some -
     one gets hurt. If this is what it
     takes to get the media to notice
     something of importance, than they
     should question their ethics and we
     should question our morals.




                                                        We are told that the media only tells
                                                     the public what they want to hear. That
                                                     through experience, they are able to tell
                                                     what interests us. If this is true, than
                                                     Americans are more concerned about the
                                                     Giants winning the Superbowl, than about
                                                     the homeless, the poor and the starving
                                                     Americans right under their noses. Truth -
                                                     fully, who wants to be depressed,
                                                     when we can celebrate the Statue of Liberty's
                                                     creationday, and cheer on our favorite
                                                     football team to the tune of millions of
                                                     dollars. Its much more fun than saving a
                                                     life, or helping a fellow American to sur -
                                                     vive.
                                                        Its funny how we scream and yell the loudest
                                                     about human indignation in other countries.
                                                     How we're so quick to point the finger at
                                                     Russia and other communist countries,
                                                     because we know that we stand for freedom and
                                                     that we stand for what's right. And yet we cant
                                                     even help our own to stand up for themselves.



                                                     HUNTER




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                               NEWS




                                         Amen11
                                              -:•~a the Co~troversial




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                                                             UPSALITE - 1987


     FACULTY TEAM CHALLENGES
     STUDENTS IN BASKETBALL
       Editor's Note:
       At press time, the editor could                                                            Gazette November 6,
       only confirm that there will be
       a game between the facu lty and                                                            1986
       students. All other statements
       in this article may or may not be
       true. Read at your own risk.


             A group of faculty members had
           challenged the students to a
           basketball game on thursday,
           November 20, 1986 at 7:30 P.M.
           The game was to be followed by
           a party for the victorious faculty
           team in the Pub immediately after
           the game. The game is a fund rasing
           activity for the Senior Dinner Dance
           so tickets would cost $20.00 at the
           door. The winning team (that is, the
           faculty) will receive a beautiful trophy
           donated by Professor Dennis Kelly.
             However, there are rumors that the
           stakes
           of the game are much higher than a mere
           trophy. The faculty has promised that if
           ~ilf ~~ ~~~fle~
                   c
                    58               5
                              ifairrr:~~ s~!d:·nr;;~~:tams
           attend the game, and that
           they will all receive final grades of A for
           all their courses this fall. On the other
           hand,
           when the student team actually loses,then
           all the
           students in the school will never skip
           class,
           ~u~~~f~~~ of~~t~:~;!• !~~k~~\}{eerr<l
                         8

           library.
              The following information about some
           members
           of the faculty team insures that they will
           easily triumph on November 20. We will
           begin with Prof. Bob Brown. Some of you
           ba~Gf~jtber that dunking the
           was outlawed at the college level a number
           of years ago. The reason was Brown's per
           formances in his senior year at college. In
           the first game of the season in 19?? he
           scored
           246 consecutive,unanswered points
           dunking the
           ball by taking advantage of his height. Prof.
           Jacobs,originally from Canada, and Prof,
           Zavereei
           ~~f~11  lly from Iran, both came to the U.S.
           basketball scholarships. Jacobs, in addition
           to her deadly accurate outside shooting
           was sought after for a highly unique skill:




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                                                          NEWS



                                 FACULTY CHALLENGE CONT;
she perfected a writing intensive method
of com mun ica ti on among playe rs, by basica ll y
passing written notes among the team to
call plays so opponents co uld not hear.
Zavareei was essentia ll y recruited for her
rebound ing ab ility - her ve ritcal leap was
meas ured at 48 feet, nol inches. She is ex -
peeled to be play ing hi gh above the rim.
Going back in th e record books a few years,
one finds th at Prof. Kell y holds Iha all
lime scoring record for N.J. hi ghschool
baske tball, ave raging 79 points a game in
  is fina l 3 years at Atlantic City High, a nd
shooting an incredible 98% from th e floor.
Last week at the Upsa la gym, he was seen
sinking 25 shots in a row from the 3 point
range deep in the corn er, and this was accom
plished with a blindfold . Prof. Roi lino and
Prof. Linc Brow n have wo rk ed out the first
  'gh -tech approach to shooti ng in the history
:,I th e game. Rollino has provided th e necessa ry
.nformation abo ut gravity, mass, and accelerati on
 ~ r~irh"e;vohnoeha1sth~i~i~=~ ia~on~~~tb~orogram so
 from anywhere on the court with guaranteed
    ccess. Rollino claims to ha ve sunk a shot
 "'the gym th at was launched from the base -
 =ien t of Puder Hall. Brown swears to it.
    Prof. Katcher's strengths revolv e around
      abil ity to syncronize the human re -
 50Urces on th e court and promises th at
some of the plays the fa culty utilizes
 wiU be truly dazzling. In his younger
 ::ays he consulted with Red Auerbach of
 ·- Bos ton Celtics ' human resources.
     uncling out the fac ult y team will be
?rof.Olson, who is approachi ng his 65th
:arthday, although he doesn't look a da y
    er 60. His strength is bas ically his
;:as.sing ga me. Few of us know that he use
    run a passing clinic for the NBA and
   attrib uted with developing the passing
saills of such players as Bob Cuosey, Peter
Mara vic h, and Magic Johnson .
   .-\n added attraction will be Prof. Earisman
   ao will provide the play by play and color
=rcu:ne ntary at the announcer. In his younger
::ays be ran the only acc redited sports announc -
     school in th e country, graduating such
;,eople as Red Barber, Vince Scully, Phil Ruzzuto,
       ard Gosei! , and Dandy Don Meridith.




                                                                                                           43
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                              RESIDENCE LIFE DIRECTOR




                                       SARAH MILLER




        This school year marks the end of Sarah's
     first year here at Upsala. She received her
     B.A. from Moravian College in Bethlehem,
     Pennsylvania and her M.E.D from the
     University of delaware. Prior to coming to
     Upsala she was a Hall Director at the
     University of Delaware.
        Sarah sees the residence halls as an
     educational environment outside the
     classroom. She feels the whole residence
     program is geared to make students grow.
     Since Upsala is a small community, she feels
     she will have more access to the students
     than at the University of Delaware.




                                                         Jeannette Armstrong - Residence life secretary




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      - ____._.._......    . ------
                                                 -     -
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                                           LIFESTYLES



                           RESIDENT DIRECTORS




                                        KHADIJAH KALIMAH




.::>AVID SEALY




  resident directors work in unison with the head of Residence Life in order to provide the students living on campus
• a pleasant enviroment to live in. Under the directors are the Resident Assistants who are located throughout the
  pus in various residential buildings, such as Froeburg Hall's north and south hall, Bremer Hall and in Town Houses.
 "dential Assistants provide students with programs designed for them to learn from and to enjoy.




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                                      RESIDENTIAL ASSISTANTS




                                                                       north hall - Charles Perry
     south hall - Cynthia DeMatteis




                                           Bremer Hall - Lisa Brun




                                                                                  Town Houses - Manuel Tarvares
       south hall - Valerie Bragg



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                             LIFESTYLES


                         RESIDENTIAL HOUSING




          laundry room
                                  Froeberg lobby                              town houses




                                          outside Froeberg
      r Hall




Froeberg parking lot                 behind Kenbrook
                                                                                               49
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                                                  BUILDINGS ON CAMPUS




            . t.                               The Chapel
       1'rn-,pt·< t. Horn,e
         l p-.,if,t Collq!,e
            Cf F       t,-• ,IOENT   FlNANCE
                   c    or-F1ce
                       l\iANCIAl.AIO
                           Rt  fN ,5




     Prospect House                                                                       Admissions House




                                               English House




                                               Kenbrook Hall
                                                                                       Music House

     The Library




     Child Care Center-                        Viking Hall gymnasium                 Agnes Wahlstrom College Center
     temporarily out of order
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                         LIFESTYLES


     TAKING THE SCENIC ROUTE AROUND UPSALA




                                                                                 51
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                                                                                 UPSALITE - 1987
                                                                                                                   BOATR




   I                 N This event is
  ANTICI_PATIO he entire year.
                                                           • I line was only
                                              But the Ct_rc :tate laws. seeing
lhe highhght ~fx~erienced on the           keeping up wd,th    ts were und~rag,e
The memories 'de ar e ones                 that most stu 8!1 .          it d1dn t
                                           anyw ays .Surp~s~c~  0 1aiffence pea-
annual boatr~ssed dow n from
treasu~ed an~l~mni. It is ~he              seem to make          .    themselves
alumnt to            frst introduction     pie see med to •!'1°Y despite the
                                           and en/'oy ~he view,
freshmans,.rerArt~r an entire ~um-
to Upsala I e.         can not wait_ to    lack of ibatwn~         kept the par_ty
mer apar:d     mfr7~ndships, review           D.J's on the ~~uld not re~1st
          O                                goin and one d           nee or twice.
renew          d f1 d new lo ves.
new tans a ~           e in th e history   Jackin' th eir bonie ~as had by all
   For th e first''ct
                   ~
                       Manhattan, the
of th e rid ~ ar~u~hat is no alcohol
                                           Overall a goodr ·n the bea uty o:
                                           Many just too \ructed Statue o
boat was dry • dl ess of age or            th e newly recons s tudents it was
was served rega r h had the in-            Liberty, for.man!eeing her. Com-
status. For thooe Bw ~here wasn't          th eir first time       view of metal
sight to B.Y. • '. th e general            pared to _last year~as a grave in-
                                           pipes,   this an
                                                         yed,r~ne didn't seem to
much ng.
eveni       but orceo s:ers it was the
         differefn                           rovement
end of the wo rld.                         ~ind if she was green.




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                                ENTERTAINMENT




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                                                        UPSALITE -        1987
                                                                                                            ''Sl




   Soviet Attempt to Gag      lettuce. What an in-
America?? Maybe, but          teresting philosophy,
despite the unformiliarity    tell me where this per-
of the food, SAGA is a        son is and where they
tradition among students.     eat regularly. None
It's a chance to see who's    the less, they might as
eating with whom or just      well be serving
plain socialize. Wheither     Chinese food, either
its a liquid meal or a bowl   way you're hungry an
of cereal for dinner, the     hour later. So sit, en-
main attractions are the      joy the atmosphere,
people .                      pick over your food.
   Someone once said that     Admit it, your there
no matter what they           for the conversation
serve, there 's always        anyways, luckily
something up there            there's a McDonalds
(SAGA) to eat. Be it a        on Dodd street.
bowl of soup of a piece of




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                      ENTERTAINMENT




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                             Halloween                                                 1986
                                                            THE DEAD NEXT DOOR




                                The I.F.C sponsored its annual            womans volleyball team came as foot-
                              Halloween party and as expected it          ball players and other students por-
                              was a success. The Halloween bash is        trayed their wildest fantasies. From
                              the highlight of October and it gives       garbage bags to playboy bunnies, Run
                              freshmen and upperclassmen a chance         DMC, the mad housewife, Jasons
                              to mingle. Upsalites and friends en-        cousin Bob, Vanity, Raggedy Ann and
                              joyed themselves to the beat of a live      sister Fred Flintstone wearing a de-
                              band and in the presence of the stan-       signer sheet, this party had it all, even
                              dard 'Gaulish' decor. Everyone got in-      drag.
                              to the 'spirit' of the occasion by dress-     The evening was topped off by the
                              ing up and playing the part. The            midnight horror flick "Phantasm' .
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                       ENTERTAINMENT




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     HOMECOMING
 By Karen Bartlett                       This year there were five ban-
    This year's Homecoming was         ners entered in the banner con-
 under new leadership, Sue             test. Each banner was judged and
 Vitengrueber. Homecoming              could win a total of 40 points.
 weekend began on October 31           The sisters of Theta Beta Gamma
 with a bonfire on the football        won the competition for the
 field and ended on November           fourth year in a row. The sisters
 I st, with the soccer and football    of Gamma Sigma Sigma placed
 games. Other highlights of the        second, the sisters of Tau Beta
 day were the Craft Fair, tailgate     Sigma and AMMO tied for third.
 parties and half-time activities at      Another activity that was en-
 the football game.                    joyed at halftime was the Viking
    This year's Homecoming             Fun Run. The mini Vike run was
 Queen was Khadijah Kalima.            won by Ted Bono, the Future
 Her court included , 5th.             Vike run was won by Steve Most
 runner-up, Alex Asaro, 4th            and Jeff Stone captured first in
 runner-up Faith Foppiani , 3rd        the Men Under 35 contest.
 runner-up Dee Ekmekjian, 2nd             Alumni and students enjoyed
 runner-up Kelly Fermo, and 1st        the weekends festivities.
 runner-up Sue Wolf.




                                                 From top to bottom;
                                                 Khadijah Kalima
                                                 Homecoming Queen,
                                                 Sue Wolf, Kelly
                                                 Fermo, Dee
                                                 Ekmekjian, and Faith
                                                 Foppiani.




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  AMMO - tied 3rd place


                                         Theta Beta Gamma - winners -1st place




:'au Beta Sigma - tied 3rd place




                                                                                    Alex Asaro, 5th runner-up




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                             COFFEE HOUSE

                             The Coffee House is an       tunity to relax and listen
                             Upsala tradition in the      to some good music. The
                             "mellow attitude."           kind that won't rattle your
                             Known for its pleasant at-   nerves. A chance to enjoy
                             mosphere and good vibes,     each others company is its
                             the Coffee House is          main feature, along with
                             located under the chapel     folk and comtemporary
                             and is open every Mon-       music played live .
                             day night from 9 till 11.      A heaven for the course
                               The complete opposite      ridden mind, the Coffee
                             of the pubs electric for-    House is a highly ap-
                             mula, the Coffee House       preciated change of pace
                             offers a person an oppor-    for Upsala's weary.




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                        ENTERTAINMENT


     DINNER - December 1986
                                        CHRISTMAS DINNER - 1986




 RISTMAS DINNER                           BSUDINNER




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           PASTOR GEORGE W. FREYBERGER
           Dear Friends
              The prayer you will read is taken from the Lutheran Book of Worship. It expresses two very
           important aspects of Upsala College, our inclusiveness and our diversity.
              Upsala has grown and prospered from a small group of Swedish Lutherans over ninety years ago to
           our present day racial and cultural variety at all levels of the college community. We celebrate this
           diversity at the college as a learning opportunity as well as a chance to make new friends.
              While you were here at Upsala, you may have taken the time to make friends with someone of a
           different race than yourself. By doing so you have planted the seeds of friendship which may continue
           to grow in your life. Cultivate them! This is where the peace of the world begins - in each of us. Peace

           Pastor George W. Freyberger




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                              RELIGION




  GOD . YOU CREATED ALL PEOPLE IN YOUR IMAGE . WE THANK YOU FOR THE ASTONISHING
 _ CTTY OF RACES AND CUL TURES IN THIS WORLD. ENRICH OUR LIVES BY EVER - WIDENING
     CLES OF FELLOWSHIP, AND SHOW US YOUR PRESENCE IN THOSE WHO DIFFER MOST FROM US,
 _;-:-rr OUR KNOWLEDGE OF YOUR LOVE IS MADE PERFECT IN OUR LOVE FOR ALL YOUR
 -:::!::.DREN.



UlK




                                   Secretary Mrs. Lutz




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                           UPSALA'S GOSPEL CHOIR




                                    MEMBERS :

                VALERIE BRAGG*                DONALD COLOUN
                ROBIN WILLIAMS*               WALTER COLLIER
                ELENOR KING*                  JANINE INGRAM
                TRACEY GAMBLE*                DARRIEN GRAY
                SANDRA WILLIAMS*              LASO NY A NELSON
                SANDRA ATKINS*                WILLENA WESSON
                CORNELIUS DUANE EADDY*        MONICA RAGLAND
                WILLIE DIGGS*                 MICHELLE HICKS
                MARLENE GAUDIN*               KAITE DORTCH
                THERESA RANDOLPH              JANET REYNOLDS*
                 DIRECTOR SIS. JOHNETTA
                         MELSON
                                              * GRADUATING SENIORS




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                                       RELIGION


                             GOSPEL CHOIR 1986-1987




 -=- gospel choir has been a dedicated force on campus. Performing at events and concerts they were a instrimental
  - • this years Black History Month as well as being featured at the BSU Christmas dinner. During the Christmas
-- fue choir went on tour and further spread the good news of the lord through song .

 .:.. _,._:rn 1 OT ASHAMED OF THE GOSPEL OF JESUS CHRIST"




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     DIRECTOR OF STUDENT ACTIVITIES
                    DAVID ANDERSON




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                                         ADMINISTRATIVE ASSISTANT OF STUDENT
                                                     ACTIVITIES




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                                  ~•=-m:ffl!l.w




                                                                 CHERILYN BYRNE



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                                 SOCIETY


ENIOR CLASS OFFICERS




                    PRESIDENT- MIKE HARTMAN
                    VICE PRESIDENT - ALEX ASARO
                    SECRETARY- FAITH FOPPIANI
                    TREASURER - JAY CITRULO
                    SENATORS- DEE EKMEKJIAN
                    ANDREA SZABO




    DEAR SENIORS:

      WITH THE YEARS SPENT HERE COMING TO A CLOSE WE LOOK BACK AND REFLECT ON THOSE
    MOMENTS THAT ST AND OUT IN OUR MINDS. IT MIGHT TAKE A WHILE BUT IF WE THINK HARD
    ENOUGH SOMETHING WILL POP UP. FOR SOME IT WILL BE THE NIGHTLY T.V. SCHEDULE WE SO
    RELIGIOUSLY STUCK TO: 11:30 HONEYMOONERS, 12:00 ST AR TREK, THEN DAVID LETTERMAN AT
    12:30. OTHERS WILL REMEMBER THE 'MORNING AFTER' THE FIRE - ALARM GOING OFF IN THE
    MIDDLE OF THE NIGHT, OR NO HOT WATER IN NORTH HALL.
      IN ALL SERIOUSNESS THE CLASS OF 1987 CAN LOOK BACK AND REMEMBER THE FRIENDS WE
    MADE, OUR PROFESSORS AND THE AMOUNT OF LEARNING THEY INSTALLED INTO US, THE
    GREAT FOOD AND THE EVER PRESENT SIRENS HEARD EVERYDAY. AL THOUGH WE MAY LOSE
    TOUCH WITH SOME PEOPLE IN THE YEARS TO COME, A QUICK GLANCE AT THIS YEARBOOK
    WILL HELP US REMEMBER THE YEARS SPENT HEREAT UPSALA. BEST OF LUCK AND THANKS FOR
    THE MEMORIES
                                          SINCERELY
                                        MIKE HARTMAN
                                   SENIOR CLASS PRESIDENT




                                                                                          73
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                                CAMPUS LIFE SENATE

PRESIDENT : KELLY FERMO
VICE PRESIDENT: RICH SCHWARTZ
SECRET ARY: KAREN ORTELLIO
TREASURERS : STEVE HELMKE
BOBLUCA
LIASON CHAIRPERSON : CYNTHIA DeMA TTEIS
RULES AND BYLAWS: GUS XHUDO
PPC : SPENCER LESTER
DERRICK MARTIN
EPC : LIZ CZEPIEL
ELECTIONS : ROMONA ARMSTEAD
PROGRAMMING ASSTS : KIRSTEN SJOGREN
JOANPETIYA
ADVISORS : DA VE ANDERSON
JOHN McINTYRE
CLASS PRESIDENTS : SENIOR - MIKE HARTMAN
JUNIOR - DENNIS SANDERS
SOPHOMORE - HYACINTH HALL
CLASS SENA TORS                                              PRESIDENT - KELLY FERMO
ANDREA SZABO
DEE EKMEKJIAN
SHAUN ROBINSON
MERNA RICKS
HUMANITIES DIV. SENATORS
KAREN BARTLETT                                      The CLS is the                is by election
LEIGH ZONA                                       governmental organ -             with the exception of the
                                                 ization for the student body.    executive com -
NATURAL SCIENCE DIV. SENATORS                    Through                          mittee which is appointed
                                                 the main legislation body        president. Once
DAVE SEALY                                       and its com-                     appointed/ elected, the
DENISE FORD                                      mittee structure, the CLS        members of the Sen -
GEBRE WILDEMARIAN                                continues to                     ate sacrifice much of their
                                                 bring student concerns and       free time to
SOCIAL SCIENCE DIV. SENATOR                      o:pinions to                     try and improve student life.
                                                 all levels of the                Manyu seniors
LISA BRUN                                        administration, inclu -          have served in years past on
                                                 ding the Board of Trustees.      the Senate at
PUBLICATION EDITORS                              The organiza -                   both executive positions ad
                                                 tion also allocates budgets to   Senate seats.
GAZETTE - KAREN BARTLETT                         a varitety                       Your enthusiasm and
UPSALITE - CYNTHIA DeMA TTEIS                    of the clubs and                 dedication have been
FOCI - JACKIE BUSHONG                            organizations as well as         greatly appreciated and will
                                                 student programming.             be deeply missed.
RESIDENT SENATORS                                   Membership to the senate

ROY DOWNES
LISA DePASQUAL
COMMUTOR SENA TORS
PETE TSIKNIS
MIKE ORSULAK




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                                         SOCIETY



                                ALPHA ANGEL CLUB



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                                                                                                          i
                                                                                                          I.
                                                                                                          I




       PRESIDENT: WILLENA                                   VICE PRESIDENT:
       WESSON                                               VALERIE BRAGG




                                                    TA VIA FISHER                PAMELA HINES
ANGELA McCLOUD                KAREN PHILIPS         DONNETTE                     CANDACE
ESTELLE MAYNARD               SARINA HOSKINS        CRUICKSHANK                  COLEMAN
KA THY PITTMAN                DAWN ROSS             DENISE ADAMS                 JUANITA BONE

    The Angels of Alpha Phi Alpha fraternity,       are to aid in endeavors of the brothers
  are a group of dedicated, intelligent, res-       and to enhance the prosperity of such
  pectable hardworking women of good moral          a prestigious fraternity .
  character. The club was started in the              The Angels perform various charity
  spring of 1983, and its main objectives           functions on campus and in the comm-
                                                    unity as well as many social events.


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                                   PRE-LAW CLUB


                                                              OFFICERS
                                                              PREfilDENT:GUSXHUDO
                                                              VICE PRESIDENT : CYNTHIA DeMA TTEIS
                                                              SECRETARY: DENISE CALINDA
                                                              TREASURER:EDBOGASH

                                                              MEMBERS
                                                              VICTOR CANNING
                                                              HYACINTH HALL
                                                              SCOTT ROSEN
                                                              JACQULINE COLDOUGH
                                                              JOANN JOSEPH
                                                              STEVE WILLIS




     GUS XHUDO-PRESIDENT, ART PAULSON-ADVISOR




                                                                The Pre-Law          tionas well as
                                                              Club plans trips to    inviting guest
                                                              different law          speakers
                                                              schools throughout     throughout the
                                                              the year to provide    year.
                                                              future lawyers         classes are held and
                                                              with a feeling for     the credentials
                                                              the types of law       they are looking fo r
                                                              schools that are       from the students.
                                                              available, how the        The club also
                                                              classes are held and   plans a trip to the
                                                              the credentials        state
                                                              they are looking for   courthouse and the
                                                              from the students.     New York law
                                                                The club also        conven-
                                                              plans a trip to the    tionas well as
                                                              state                  inviting guest
                                                              courthouse and the     speakers
                                                              New York law           throughout the
                                                              conven-                year.




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                                                  SOCIETY



                                     POLITICAL SCIENCE CLUB



                                                                                     OFFICERS
                                                                                     PRESIDENT : VICTOR CANNING
                                                                                     VICE PRESIDENT : ED BOGOSH
                                                                                     SECRETARY: HYACINTH HALL
                                                                                     TREASURER; PAULINE CARIDES
                                                                                     MEMBERS
                                                                                     DENISE CALINDA
                                                                                     GUSXHUDO
                                                                                     SCOTT ROSEN
                                                                                     JOANN JOSEPH
                                                                                     STEVE WILLIS
                                                                                     ERIC VASQUEZ
                                                                                     CYNTHIA DeMATTEIS
                                                                                                                          .
                                                                                                                          I
                                                                                     JACQULINE COLDOUGH




     OR CANNING, PRESIDENT




-he purpose of the club is to get students involved with current _political events at Upsala and around the world.
- h e club sponsors trips to the United Nations, the State Assembly in Trenton and other social events.




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         CULTURE TRADE ORGANIZATION


                                                                                       The CTO was founded April 1st 1986 and its
                                                                                       main purpose is to bring together students
                                                                                       from different countries and cultures. Some
                                                                                       of the events sponsored during the year are
                                                                                       International Dinners, trips to museums,
                                                                                       restaurants and are gallaries in New York. As
                                                                                       a new organization we hope to succeed in our
                                                                                       ambition to unite and familiarize students on
                                                                                       campus with different countries and their
                                                                                       people.




        from left to right; Gun Kim, treasurer. An Huu Nguyen, president. Dniel
        Koh, secretary. John Kuperus, vice-president. party counsel, Mohamt
        Sobandy and Sin Ming Mah.




             THIRD WORLD STUDENTS ORGANIZATION




                                                                                                           ,,,., ..      .,,>·;.,..,,, •=~=·•/..O_C'-~
                                                                                                           .....:.,,,.,;,,,;;,.....----  --,...,;'."·~




                                                PRESIDENT : KEITH WILKINSON
                                                 VICE PRESIDENT: JOHN BONE
                                                SECRET ARY: CATHY PITTMAN
                                               TREASURER: ESTELLE MAYNARD
                The Third World Students Organization was established in order to promote unity,
              scholarship and cultural awareness for all people of African decent.This year we are proud to
              say we have accomplished these goals by helping create and become part of the BSU.
                We the members ofTWSO would like to thank you for your support. We would like you to
              always keep our motto in mind.

                                          ONE PEOPLE,ONE NATION, ONE DESTINY

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                                SOCIETY


           LATIN AMERICAN UNION



                                                     The Latin American Union provides a sense
                                                     of one identity both for Hispanic students and
                                                     those interested in Hispanic culture at
                                                     Upsala. Founded in 1976, the LAU had served                   l
                                                     as a strong force for cross-culture                           i
                                                     understanding, a device by which students
                                                     could coordinate and present different
                                                     aspects of the Hispanic culture to the whole
                                                     Upsala community. By presenting traditions!
                                                     events like the Salsa , Disco, Dinner for                     ii
                                                     Hispanic Heritage Month and many                              -I
                                                     community service projects, we have created
                                                     a Union devoted to cultural understanding.                    i
                                                                                                                   I
                                                                                                                   ;
                                                                                                                   I




                       •
                 .a•
  PRESIDENT : ALEX ACOST A
  VICE PRESIDENT: LORENA NA VARRO
  TREASURER : MARK HICKS
  SECRETARY: PRESTON BELL



                                                    left to right front; Preston Bell, Lorena Navarro, Alex
                                                    Acosta, Ivelyse Pillot, Mark Hicks. left to right back;
                                                    John Davis, Dickens Toussaint, Tony Perez




                                                                                                              79

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                                     BLACK STUDENT UNION




     We the proud members of the Black Students Union, in
     order to establish unity, the desired achievement and
     fulfilment of ourselves, set down this day some goals of our
     organization.
       "To establish a positive and respectful image with other
     student organizations.
       To establish self and academic awareness of the members
     of the Black Student Union.                 •
       To establish a positive and prosperous relationship with
     ourselves and others on and off campus.
       To always strive for improvements in the BSU and
     ourselves ..
       To establish a legacy that present and future members
     will be proud to uphold.
      WE ARE ONE, WE ARE PROUD, WE ARE POSITIVE, WE
     ARE THE BLACK STUDENT UNION.




                                                                                   PRESIDENT BRYAN BARTLEY




                                                               Members; Kenneth Powell, Charles Perry, Kyle Adams, Estelle Maynard,
                                                               Preston Bell, Gordon Astwood, Louise Downes, Khadijah Kalima, Warren
                                                               Jackson, Andre Simmons, Mellisa Grant, Donnette Cruickshank, Kim
                                                               Grant, Audra Grant, "Bear"
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                                                     SOCIETY



                                RACHEL CARSON HEALTH CLUB



        The purpose of the club ,founded by
     Professor Carolyn Thorburn, was developed
     to provide students with a better knowledge
     of the health problems existing in society
     today. Centering on environmental
     instruction and Cancer, Professor Thorburn is
     active in getting the community more
     knowledge on health by giving lectures,
     appearing on radio and distributing data
     throughout the campus and community.




                                                        members; Tracy Ramos, Fran Ferrar, Edie Walters, Nancy Swain, Charles Perry,
                                                        Steve Lawson,Maribel Fermin, Annette Arocho, John Lopez, Derrick Martin
                                                        and Charles Bell




THE INFAMOUS BANANA ICE CREAM
                                                                          PROFESSOR CAROLYN THORBURN,
                                                                          FOUNDER AND ADVISOR




                                                                                                                                       81
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                                                                 F.O.C.I


                                                                WEMET
                                                                AND/SURRENDERED

                                                                TOHER,

                                                                FELL IN LOVE
                                                                WITH THAT WOMAN.

                                                                BUT WHO ARE YOU?

                                                                EACH DAY
                                                                DISCOVER YOU AND

                                                                SHE ARE NOT ALIKE.

                                                                WERE YOU THIS BEAUTIFUL
                                                                OR CLEVER, OR CHARMING

                                                                YESTERDAY?

        Foci, Upsala's literary magazine, provides              HOW WONDERFUL
     student with four publications per year.
     Featuring poetry, short stories and photography            BLESSED
     it represents the artistic aspect of college life.
     This years staff, along with editor Jackie                 BY THE MIRACLE
     Bushong brought Foci back into the limelight of
     campus publications, with its artistic covers and
     sometimes controversial submissions of poetry.             OF FALLING IN

                                                                LOVE AGAIN

                                                                WITH YOU.



                    EDITOR : JACKIE BUSHONG                       A.C
                    ASST. EDITOR: MARK WILLIAMS
                    COMMUNICATIONS: DANA
                    HUNTER
                    LAYOUT : DA VE PICARDI
                    ADVISOR: PROF. DEL EARISMAN




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                                                            UPSALITE 1987




    The 1987 Upsalite editors and staff worked
::iligently under many deadline pressures and
:zequent crisies to complete a successful yearbook.
Piecing a yearbook together out of so many small
::etails involves much time and effort.The staff
a empts to present both a literary and pictoral history
    the past year, hoping that now and in the future,this
::,ook will help to recall the exciting events and
experiences of your college days.
    The editor would like to extend her thanks and
~ppreciation to Dana Hunter for her many hours spent
µlaying with the computer.



                                                                    Editor's time out off the aerobic floor




         "We're missing what section?"




                                                                       "I didn't know you could get in this position"




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       This year, the GAZETTE has been striving to more fully become a
     newspaper of the entire college comm unity, maintaining close
     contact with the college administration and numerous clubs and
     organizations on campus. Despite the size of the staff we were still
     able to produce a quality paper and restablish the credibility and
     reliability of the GAZETTE. This innovation was instituted under
     the editorship of Karen Bartlett and the dedication of Kathleen
     Murray without whom the hours devoted to layout would not be
     possible. With each issue and effort is made to present a diversity of
     interesting and informative articles to satisfy nearly every taste.



                                                                                            UPSALA GAZETTE STAFF
                                                                                                           Editor - Karen Bartlett
                                                                                              ·• fu;~itant Editor - Kathleen Murray




                                                                                  ACADEMIC/
                                                                                  ADMINISTltATION        DISTRIBUTION            LAYOUT
                                                                                  BEAT                    Theta Epsilon           Karen Bartlcc:
                                                                                   Leigh A. Zona                                  Kathleen M urw
                                                                                                    FOREIGN STUDENT
                                                                                  BUSINESS MANAGER BEAT
                                                                                    Karen Ortelio •  Rose Dunado
                                                                                                     Rose Tejera
                                                                                  CARTOONIST
                                                                                    John Bobowicz   GREEK BEAT
                                                                                   l<oy Vownes        Elaine Charocops

                                                                                  ADVISORS: Deborah Heilbrun, Steve Krinsky. James Lovell




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                                                      The main purpose and objectives of
                                                   Radio Station WFMU consist in its role as a
                                                   public radio station. Listener supported,
                                                   WFMU tries to manintain an individual
                                                   image and also present itself as a
                                                   respectable part of Upsala College. In
                                                   addition to music programs ranging from
                                                   the classics to Texas cowboys music,
                                                   interesting discussions, interviews and
                                                   live bands are featured regularly. With
                                                   emphasis on the community and thier
                                                   importance to our annual pledge
                                                   marathon, WFMU is devoted to its level of
                                                   excellence it is designed to maintain.
                                                   Campus as well as community events are
                                                   made known to the public, and students
                                                   are encouraged to openly and freely
                                                   express ideas.




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                             WORKSHOP 90 T HEATR E
                             O P UPSALA COLLEGE
                                  PRESENT S

                      TIU: PREMIERE    PERFORMANCE Of'

                              FORGOTTEN

                               by KE ITH BROWN



                                                                                            By Keith Brown




                                Dh-ected by

                              ROB ERT M.\RCAZZO




          SET DECORAT I ON                            LlOHTINC
                BY                                       BY
          PHYLLIS BROWN                           GEORGE SlLBERSTERN




     CAST LIST
     DAVID ROMERO ... HENRY LEYVA
     MR. SLATE .......... JIM LOVELL
     MR.CONNELY ... ROBERT BROWN
     MR. BROWN ............ RICHARD
     MORRISSEY
     GUARD ............ ROY DOWNES
     MRS. BARTLEY ......... DIANE M.
     VOWELL
     WENDY PARKER ......... JACQUE
     SCHERAGO
     KEVIN ......... DAVID MICHAELS
     BOB ......... MICHAELJ.JANISH
     AL ................. ROY DOWNES
     JOE .............. JEFF TOSCANO
     GREG ................. JEFF FARIS
     JULIE ............ DIANA DEGNAN
     Directed by ROBERT MARCAZZO




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: Eugene O'Neill
                                                               CAST OF CHARACTERS
                                                    NAT MILLER . . ........ THOMAS A. NACKID
                                                    ESSIE, .................. AMANDA J. MROZ
                                                    ARTHUR, ................... ROY DOWNES
                                                    RICHARD, ........... .. RICHARD T ANKOOS
                                                    MILDRED, .............. NANCY BENWARD
                                                    SID DA VIS . ................. KARL WESTON
                                                    LILY MILLER ............... NANCY HA WES
                                                    DAVID McCOMBER ..... KARL ROSENSTEIN
                                                    MURIEL McCOMBER ... . .... KAREN MONTI
                                                    WINT SELBY .............. MIKE HARTMAN
                                                    BELLE ............... CANDACE COLEMAN
                                                    NORA ................ ALEXANDRA ASARO
                                                    BARTENDER ........ . .. CORNELIUS EADDY
                                                    SALESMAN ................ JOHN McGUIRE

                                                    Directed By Robert Marcazzo




           MARCH, 1986
   A young boys coming of age is
 depicted in Eugene O'Neill's,
 AH, WILDERNESS. The year is
 1907
 and our lead character has to deal
 with his desires for higher
 learning,
 and his confrontations with
 alcohol,
                                                                                  01R£c1't1>   &Y
 adolescence adventures and love.
                                                                              {l.o BE ~T ~.4.,41,Azzo




                                                                        MA{{'-H )..<>,J..l,).l/2.3
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                                                                                               UPSALA CCU [GE, EA5TOl1ANGE, NJ




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                          WORKSHOP 90 THEATER                                                       TttE .ff PPIJE TREE
                                                                                                    Directed By Robert Marcazzo


                                                                                                               ACTORS AND THEIR PARTS
                                                                                                          ADAM, CAPTAIN SANJAR
                                                                                                           .... . .. . .. . .. CORNELIUS EADDY
                                                                                                          EVE, THE PRODUCER .. CANDACE
                                                                                                          COLEMAN
                                                                                                          THE SNAKE, BALLADEER, FLIP
                                                                                                          ................ BOB SENKEWICZ
                                                                                                          KING ARIK, NARRATOR .. . . . JOSE
                                                                                                          ALICEA
                                                                                                          PRINCESS BARBARA ... .. NANCY
                                                                                                          HAWES
                                                                                                          NADJIRA . ... . ANDREA SAMPSON
                Book , Mu sic ;>nd Lyrics by Sheldon Hamick and Jerry Bock                                ELLA AND P ASSIONELLA
                Add11 ional Book M 111e,i11l by Jerome Coope,smi1h
                Based on stories by M;,rk Tw11in. Fr.tonk R Stockton and J ules h iffe,                    .. . ... ... ... ALEXANDRA ASARO
                                Directed by Robert Marca uo
                                                                                                          MS. FALLIBLE .. . AMANDA MROZ
                           M usical D irec ti on by W illiam D eguire                                     Part I   "THE DIARY OF ADAM AND EVE"

                            Choreographer Linda McAndrews

                s.,ts by Thomas Nackid
                L,ghung by Gl'orge Silberstern
                Costumes by A1ssa1ou Aicha 8.!i




                   APRIL, 1986
       The Apple Tree is a triology                                                                                                                            Part Ill      "PASSIONELLA"
     of three seperate plays and                                                                                                                               "Oh, To Be A Movie Star"                                            EU.,
     mini - musicals. The first
     being ADAM AND EVE, is a
     humorous, modern version                                                                                                                                  "Wealth".

     of the earth's first humans.
                                                                                                                                                               "George L."
     The second musical, THE LADY
     AND THE TIGER, told of forbid -
     den love in a semi-barbaric
     kingdom. The third in the series
     was the musical PASSIONELLA, a
     Cinderella story with a Holly -
     wood twist.                                                                                                                                                                      MUSICIANS




                                                                                                                                                           PRODUCTION STAFF:
                                                                                          Part II   "THE LADY OR THE TIGER"
                                                                                                                                                                                                              Amanda J. Mroz
                                                                                                                                                                                                               Diane M . Vowe ll
                                                                                                                                                                                                               Amanda J . Mroz
                                                                                                                                                          PRODUCTION CREW:
                                                                                                                                                           Se• .                                             . . Thomas Natkid
                                                                                                                                                           Sound                                           . Geo1ge Silberstem



                                                                                                                                                           lighting Crew .                               George Silberstern.
                                                                                                                                                                                               Andrea Sampson, Drew Abbate
                                                                                              (Reprise)                                                   S1age C1ew                                               Roy Do wnn
                                                                                                                                                          SPECIAL THANK TO,




                                                                                                                                                          Look Oul for our 2nd Summer Playwrights' Workshops, which w j))
                                                                                                                                                          culminate in two pertormances of FO RGOTTEN, an original play by
                                                                                                                                                          Keith Brown on Wednesday, July 9th and Sa1urday, J uly 12th at
                                                                                                                                                          8 PM.
                                                                                                                                                                          "Pro duced by Specia l Ammgemen t with
                                                                                                                                                                          MUSIC THEATR E INTERN AT IONAL"




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                                                                           THEATER


                           Upsala College's
                     WORKSHOP 90 THEATRE
                                  presents                                               Directed By Robert Marcazzo
                      "TWO BY CHEKHOV "




                                                                                                                                                    CAST OF CHAR ACIT.
                                                                                                                                                  STEP AN TSCHUB KO\-
                                                                                                                                                   ......... . TROY HOS
                                                                                                                                                  NATALIA STEP A ' O\ . ·.-\
                                                                                                                                                   ...... .. .. CHARIS .-\D.~ !::
                                                                                                                                                  IV AN LOMOV . . WCK -.;-
                                                                                                                                                  JANISH
                                                        THE BOOR                                                                                  HELENA POPO V
                                                                                                                                                   .. .. CANDA CE CO LE~L\.; -
                                                                                                                                                  GRIGORI SMIR 0\
                   Dir ec ted by: ROBERT MARCAZZO                                                                                                 ...... CORNELIUS EADDY
              OCTOB ER 9th, 10th, 1 Ith , 161h, 17th, and 18th
                                                                                                                                                  LUKA .... .. AL AL~IEID.-\
                       PERFORMANCE AT 8:00 P.M.




                                                                                                              OCTOBER, 1986
                                                                                                      Two short plays by the Russian
                                                                                                    playwrite are presented,THE MAR
                                                                                                    RIAGE PROPOSAL and THE BOAR.
                                                                                                    Two
  13U§ §TOI)                                                                                        comic portrayals of passionate col -
                                                                                                    isions between volatile, enigmatic
                                                                                                    men and women.

 _· William Inge

                                                             Directed By Deirdre Yates
                                                                                                                        UPSALA COLLEGE'S
                                                                                                                       WORKSHOP 90 THEATER
        CAST OF CHARACTERS
:O: LMA DUCKWORTH . . CHARIS
.-\DAMI                                                                                                                           Presents

GRACE HOYLARD . .... ELANIA
~WIS                                                                                                                      BUS STOP
'\'ILL MASTERS ......... ROLF                                                                                               By WILLIAM INGE
~ GDORE
CHERIE .. ALEXANDRA ASARO
:JR. GERALD LYMAN
  . . . .. .. ALEXANDER DEVANAS
CARL .. . .. . .... . AL ALMEIDA
   lR GIL BLESSING . CORNELIUS
EADDY
BO DECKER . .. . DINO PAGANO
                                                                      DECEMBER 1986
                                                               A comedy by William Inge,                                         DIRECTED
                                                            BUS STOP is a humorous por -                                              by
                                                            trayal of a show girl trying                                     DEIRDRE YATES
                                                            to get away from a obnoxious
                                                            cowboy. Trapped in a bus stop
                                                                                                                          December 4, 5, 6; 11, 12, 13
                                                            overnight our heroine goes
                                                                                                                                   8:00 P.M.
                                                            through many changes as we're
                                                            delighted by the performances
                                                            of the other characters whose
                                                            different personalities mixing
                                                            on stage captivates us until
                                                            the end.


                                                                                                                                                                              91
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     INTERFRATERNITY COUNCIL

                                                                                                     OFFICERS
                                                                                        PRESIDENT - STEPHEN RUSNIK
                                                                                        VICE-PRESIDENT - STEVEN HELMKE
                                                                                        SE;CRETARY - JO-ANN MACK
                                                                                        TREASURER - JOHN MASCULIN
                                                                                        ADVISOR - GARY PORTER




      I.F.C. is composed of the following fraternities: Alpha Kappa Psi, Alpha Phi
      Omega, Camel Drivers, Pi Delta Phi, Rho Alpha Phi and Theta Epsilon. It was
      founded for the purpose of regulating fraternity activities and encouraging
      cooperation among fraternities and the Intersorority council.




     INTERSORORITY COUNCIL

                                                                                                    OFFICERS
                                                                                        PRESIDENT - DEE EKMEKJIAN
                                                                                        VICE-PRESIDENT - PATTY RAYMOND
                                                                                        TREASURER - ANNETTE AROCHO
                                                                                        SECRETARY - LIZ HOWATT




       The I.S.C. is composed of four sororities: Alpha Phi Delta, Gamma Sigma
     Sigma, Tau Beta Sigma, and Theta Beta Gamma. The purpose of this
     organization is to supervise and to regulate sorority activities and to foster a
     feeling of mutual respect and cooperation among the sororities.




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                                 COMICS



          TRI-BETA BIOLOGICAL HONOR SOCIETY

                                                                 OFFICERS
                                                    PRESIDENT                JOHN SENA
                                                    VICE-PRESIDENT     MARY ANNE CHOI
                                                    TREASURER               JOHN OKUN
                                                    SECRETARY      MICHELLE HENDRICKS




                                MEMBERS
         ANNAKOLANO                            GURVINDRA JOHAL
         LOUISE DOWNER                           JOHN GARRIGAN
         DEBBIE ACAMPARA                          MARIE M. PIERE
         MIRLENE LINDOR                            SHR UTI PA TEL
         GERBRE WOLDERMERE                     WENDY HAMIL TON
         MARINE ANDRIEUX                    E. GORDON ASTWOOD
         GEORGINA TJIPURA                       ELIZABETH BRNIC
         YONNETTE WARDE                         MARGARET PAUL
         JOE COFFEY                             THABO NGUBANE
         AN NGUYEN                                 LUANN BERTO
         DAVID SEALY                               ELISSA COHEN
         MOHAMMED ABDALLAH                       MONICA FELDER
         WENDY WHEELER ...


                              ALPHA KAPPA PSI
                                                                  OFFICERS
                                                    PRESIDENT           LISA DE PASQUALE
                                                    VICE PRESIDENT INTERNAL      SUZANNE
                                                    SHELL
                                                    VICE PRESIDENT EXTERNAL           JAY
                                                    CZUMBLE
                                                    TREASURER              STEVE RUSNAK
                                                    CORRESPONDING SECRET ARY PA TRICIA
                                                    NIXON
                                                    RECORDING SECRETARY             ANGIE
                                                    McCLOUD
                                                    MASTER OF RITUAS          ALEX ASARO
                                                    WARDEN               DERRICK MARTIN
                                                    HISTORIAN               LAURA GOULD
                                                    IFC REPRESENTATIVE         ELICSUAZO
                                MEMBERS
         VERGNA ADAMS                              FAITH FOPPIANI
         EDDIE BARRETT                             CA THY FUTYMA
         GABE BERCOVICI                          CHRISTINE JACISIN
         KHADIJAH KALIMA                           VALERIE BRAGG
         TONY BRIGHT                                   TONY PEREZ
         STEPHANIE CLARK                             JANICE SOMAI
         JAMES C. COSBY JR.                         SEAN STEVENS
         JOSE ALICEA                                  ROSA TEJERO



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                               THETA BETA GAMMA

                                                                        OFFICERS
                                                      PRESIDENT . .... . ..... . . .. SUSAN KERN
                                                      RECORDING SECRETARY ..... ANNETTE
                                                                     AROCHO
                                                      TREASURER .. . . . . CYNTHIA DeMATTEIS
                                                      CORRESPONDING SECRETARY . DARLENE
                                                                    BRIGANTE




                                    •
                     SISTERS
          ANNETTE AROCHO        DARLENE
                               BRIGANTE
          STEPHANIE CLARK       MARIBLE
                                 CORTEZ
          CYNTHIA DeMATTEIS       ALEXIS
                               ENDERLIE
          MICHELLE HENDRICKS      SUSAN
                                   KERN
          MARINALONGERIE          PAYAL
                                 MEHTAL
          NANCY ROGERS

                                                    Theta Beta Gamma was founded in 1918 and is
                                                  the oldest sorority at Upsala. A Theta is one who
                                                   maintains a high scholastic rating, takes part in
                                                     extra-curricular activities and holds a high
                                                    standard of endeavor for her college and lier
                                                      sorority. During the year Thetas enjoy the
                                                     sisterhood of their sorority through various
                                                     activities such as the annual Theta Formal,
                                                 Halloween Flower sale, Candy sale, Alumni Teas
                                                 and Spring Weeks kissing booth. The sorority also
                                                        presents an annual scholarship award.




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                             THETA EPSILON - GODS

                                                    OFFICERS
                                     PRESIDENT ......... BOB MONTUORE
                                     ZEUS ........... . CRAIG CONNELLAN
                                     VICE PRESIDENTS ... JAMES GILLESPIE
                                                 DAVE FRISK
                                     RECORDING SECRETARY ........ TOM
                                                  FINNERTY
                                     CORRESPONDING SECRET ARY ... JEFF
                                                  BRANDON
                                     TREASURER ....... DAN GIOVINAZZO




          MEMBERS
BRUCE ENGLEHART   FRANK FAILA CE
ANTHONY JANISH       MIKE JANISH
DOUGKENT                 ED KING
JOHN LOPEZ




                                           The oldest fraternity on the Upsala campus was founded in 1899 by a
                                            group of students led by Rev. Nelson. Upsala was then located in
                                        Kenilworth. The college consisted of one building called Old Main. The
                                        group of men who lived on the top floor of this towering structure called
                                         themselves 'GODS' and their home'Mount Olympus'. They chose the
                                        Greek letters Theta Epsilon Omnicron Iota because these spell 'GODS'.
                                        Presently, the group participates in such activities as Intramural Sports,
            8E                            Homecoming, and Spring Week. Upsala also benefits from an annual
                                                        scholarship maintained by the fraternity.




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                             ALPHA PHI DELTA

                                                                    MEMBERS
                                                     PRESIDENT ............ CHRIS JACISIN
                                                     VICE PRESIDENT .. ... LISA ST ANWICH
                                                     TREASURER ....... AMANDA J. MROZ
                                                     SECRETARY ........... PATTY CASEY
                                                     WEND¥ WHEELER ELIZABETH PAPP AS




                                                           Alpha Phi Delta sorority was founded at
                                                         Upsala by seven women in 1935. Its main
                                                        purpose is to foster friendship and promote
                                                     individualism among its sisters. Along with this
                                                      is the traditional Alphie enthusiasm for being
                                                      involved and having a good time. The sorority
                                                           has been on campus for over 50 years.




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                                         COMICS


                                    RHO ALPHA PHI




                                                                                   OFFICERS
                                                             PRESIDENT ........... VICTOR AROCHO
                                                             VICE PRESIDENT ...... RICHARD BERGER
                                                             TREASURER . . . ... ..... .. LEE EDWARDS
                                                             SECRETARY . . ... . ....... JOHN MATTOS
                                                             SOCIAL DIRECTOR ....... ANDY PASQUA
                                                                        JERRY TORSIELLO
                                                             SEARGENT AT ARMS ... . . . JACK ANIBOLI




              MEMBERS
::::::J HON CHEN         PAUL BILGRAV             ,~\\O AlJba P~
                                                      f".OUIIDEO ~
:!.!IKE MISCHLER        DA VE BATHISEN
_ 0 ~ KOLIBAS         JOHN DiGREGORIO
~RIAN ST AUFF                 ED GURST
      -s XHUDO           JEFF JENNINGS                           . • ' ,,              UESTAIUSUtt
                                                      1137 ~ 1164
               JEFF GAGNON
                                                                          ·•
                                                                        ~AID[RS
                                                  UPSALA. COLL(G(
                                                      The fraternity was re-
                                                 instated in 1984 and consists
                                                  of athletes of all sports. The
                                                       RHO'S have many
                                                     functions, such as the
                                                   Homecoming Formal, the
                                                   Bid Day Formal and their
                                                  Famous Wild T-Shirt Party.
                                                     The fraternity stresses
                                                        brotherhood and
                                                  successfulness. Our colors
                                                      are black and silver.




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            GAMMA SIGMA SIGMA

                                                                                       OFFICERS
                                                                          PRESIDENT ...... ELISSA COHEN
                                                                          VICE PRESIDENT ......... PA TTY
                                                                                    RAYMOND




                                                                                        MEMBERS
                                                                       LAURA JACOBS     LARYSA KOKOLSKYJ
                                                                       DONNA GREENSE              LIZ BRNIC
                                                                       BARBARA BERNIERI        LIZ HOWATT
                                                                       LAURA GOULD        BEVERLY GIBSON
                                                                                 ARLENE DA VIS
            Founded in 1955, Gamma Sigma Sigma, MU chapter is
            a National Service Sorority, dedicated to promoting
          service and friendship on campus as well as off campus.
                    Their colors are maroon and white.




                    TAU BETA SIGMA

                                                                                       OFFICERS
                                                                    PRESIDENT ......... IRENE GALLEGUILLOS
                                                                                       MEMBERS
                                                                    ALEXANDRA ASARO                 LEIGH BURKE
                                                                    ELAINE CHAROCOPOS             MARY ANN CHOI
                                                                    ROSEDUNADO                    DEE EKMEKJIAN
                                                                    KELLY FERMO                   FAITH FOPPIANI
                                                                    VALERIE JOVANOVIC            SANDRA MESIAS
                                                                    SUZANNE OLSSON                     TERIPEGO
                                                                    JOANPETIA                      KELIA RA VELO
                                                                    DEANNA REVIE              ILIANA RODRIQUEZ
                                                                    BARBARA STOTT                 ANDREA SZABO
                                                                    ROSA TJERO                    SUZANNE WOLF
                                                                                ADVISOR: GARY PORTER
                                                                         Tau Beta Sigma was      achfivements and
                                                                        founded in 1921 to      forward to many spe,a:.
                                                                     promote friendshi.P and    activities. They spo
                                                                       good will and to lend      cand_y and bake sa1-=
                                                                     support to activities and throughout the year -
                                                                      interests of the college.   end each year with -
                                                                    The colors are tan, brown     Spring Formal whic:.
                                                                    and scarlett. The Taus are    welcomes their n
                                                                     proud of their scholastic  sisters into the so •
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                                                                                         TB:X
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                                COMICS



     DELTA SIGMA THETA - DELTA ZETA CHAPTER



                                                    PRESIDENT                              ELAINA LEWIS
                                                                          MEMBERS
                                                    DENISE ADAMS              SHELINA WILLIAMS
                                                        BARBARA WILSON ... UPSALA COLLEGE
                                                                   STUDENTS




                                                     Delta Sigma Theta is an international Public Service
                                                  Organization which was founded on January 13,1913 at
                                                    Howard University in Washington, D.C. We have 22
                                                 founders and the key to our sisternood is through our five
                                                 point program thurst. It includes economic development,
                                                    educational development , political awareness and
                                                       involvement. Physical and mental health and
                                                  international awareness and involvement. Delta Sigma
                                                     Theta also participates in many social functions,
                                                    including candy and bake sales, Delta week, Black
                                                    history month and study sessions. One of our major
                                                  philanthropic projects are donating to the United Negro
                                                                       College Fund.
                                                      " INTELLIGENCE IS THE TORCH OF WISDOM "




                             DELTA "G.Q" M.I.D




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B A S        E   B A L L-1986




                  1986 UPSALA BASEBALL ROSTER
      NO.                                 NAME                                       CL.

      4                                 ASTA.DAVE                                     SR
      28                              CARTER.SHAUN                                    so
      7                                CONTRINI,JIM                                   SR
      2                               COOPER.LANCE                                    FR
      3                                 CUNHA.JOE                                     SR
      6                                 DUVEN,TIM                                     JR
      17                              GOLDSTEIN.TOM                                   so
      30                                GRIGLIO,JOE                                   so
      9                                HONCHEN,ED                                     JR
      15                              MA THIS EN ,DA VE                               SR
      8                                PHILLIPS.DAN                                   JR
      10                                REILLY.PAUL                                   so
      26                              SCHOFIELD.RICH                                  JR
      16                               SIVULICH,RON                                   FR
      21                              SYLVESTER.MIKE                                  so
      12                           VILLALONGA,ORLANDO                                 so
      20                              W ALKER,MICKEY                                   JR
      14                                 WALSH.JIM                                    so
      18                              WILLIAMS.STEVE                                  SR


                                   HEAD COACH: ED LYONS




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COACH'S CORNER




      ED LYONS
                                                                    JACK FLETCHER




                                         DAN ROGERS

                                                                                            DAN PHILIPS

  The VIKINGS finished        Baltimore Orioles, and is
the 1986 season with an       seen as going on to
impressive 31 -               bigger and better things.
14 win/loss record.              But Williams was not the
Successfully                  only star of the
winning the Northern          season. Tim Duven closed in
Division title of             on Larry Caprio's             GO VIKINGS 31-14 !!!
M.A.C., they were             career triple mark with
additionally featured         nine, needing one more
in the NCAA post-season       to tie the record. Ed
playoffs. Florida's           Honchen was 11-0 before
Wes Rinker-organized          the
tournament was also           May schedule, Dave Asta
captured by the mighty        batted over.400 for most
VIKINGS.                      of the season and Mickey
   Of the 1986 players, six   Walker was voted the MVP
have graduated, which         at the Florida tournament.
may be seen as detrimental    CONG RA TS!!!
to the performance of         to the whole team and
the 1987 team. Graduate       thanks for the terrific
Steve Williams, Upsala's      season.
all-time winning
pitcher,was drafted by the




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                                          UPSALA VIKING FOOTBALL




    After cruising to a 2.0 record and showing signs of       team who deserve recognition. Senior Captains;
  being one of Upsala's best teams to date, the 1986          running back, Mark Luisi, center, Paul Bilgrave,
  gridiron Vikings were hit by a wave of injuries and         and def. back Walter Pomphrey all posted solid stas
  problems that came during one of the strongest              throughout the season, and returning All-
  parts of their schedule.                                    American, Cap - tain Walter Houseman is being
    Behind the leadership of Quarterback Spencer              seriously look - ed at by many N.F.L teams.
  Lester, the Vikings rumbled by Kean and Trenton               Senior def. backs Ed Honch and All-Mac safety
  State colleges, then the wheels fell off. Lester            Vic Arocho once again anchored the Upsala
  suffered an all but season ending shoulder                  secondary. The Vikings can only dream of what
  separation in a loss to ALBRIGHT, and the Vikings           could have been in '86, but with a strong nucleus
  never got back on track.                                    returning in '87, and barring any cataclysmic
    While the Vikings season was nothing to write             injuries, Upsala could mean bad news for football
  home about, there were many individual on the               goes next season.

     1986 UPSALA COLLEGE FOOTBALL VIKINGS
                                                              NO.                    NAME
    NO.                      NAME
                                                              68                                            JONES.BILL
    54                                  ADAMS, ANDERSON       59                                        KUCKS,KEVIN
    34                                        ANIBOLI, JACK   57                                           LABBE.RICH
    70                                    AROCHO, VICTOR      2                                      LESTER.SPENCER
    14                                        BARNES, PHIL    4                                         LINDSEY.RICH
    94                                        BERGER, RICH    18                                          LUISI.MARK'
    52                                     BILGRAV,PAUL'      3                                        MADIGAN.PAT
    90                                     BONANNO, MIKE      37                                     MASCULIN,JOHN
    39                                CAPARRUVA,CARLOS        55                                    McALEA VEY ,MIKE
    13                                CERMINARO, DARRIN       43                                      MISCHLER.MIKE
    33                                CHISVETTI, DOMINICK     60                                  MULLIGAN.GERALD
    35                                 CONNOLLY, WILLIAM      63                                       MULVEY.KEITH
    10                                          COOK.MIKE     51                                         OBERTl,RICK
    58                                   DiGREGORIO,JOHN      1                                      OSINSKI.WALTER
    26                                       DOERING, MIKE    5                             PAPADOPOULOS.ANTHONY
    20                                         EGAN.KEVIN     44                                       PASQUA.ANDY
    98                                     FOSTER.JEROME      95                                      PAULIKAS,JOHN
    96                                         HARRIS.ERIC    73                                      PERRONE.GREG
    53                                         HARRIS.NICK    27                                   POMPHREY,WALT'
    11                                       HETTRICK.BILL    72                                 SHELTON.TERRANCE
    82                                  HOLLIDAY, WALTER      71                                        SLIKER.DOUG
    85                                         HOLMES.KEN     56                                         STARACE.ED
    21                                        HONCHEN,ED      45                                         STESSEL,JEFF
    80                                     HOUSMAN.MIKE       75                                    SUPINSKI,GEORGE
    79                                 HOUSMAN.WALTER '       42                                        THORNE.TOM
    84                                     HOWELL, TRAVIS     32                                    TORSIELLO.JERRY
    50                                     HUDANISH,TOM       41                                       WARREN.STAN
    30                                   HUTCHINSON.RON       88                                       WILLIAMS,RON
    24                                    JACKSON.BENNIE      23                                      WILSON.ELTON
    46                                  JACKSON,CLA YTON      15                                   SESSOMS, ROBERT
    26                                      [OHNSON,TROY
                                                                                                                         109
                                                  *TEAM CAPTAINS
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                    1986 SEASON FOOTBALL SCORES
          1                  TRENTON STATE                                37-34
          9                   SUSQUEHANNA                                  0-25
          4                     ALBRIGHT                                   7-14
          2                       KEAN                                    25-12
          8                      WIDENER                                   8-42
          7                     LYCOMING                                   0-42
          6                 DELAWARE VALLEY                                 0-5
          5                 LEBANON VALLEY                                13-14
          10                     MORAVIAN                                  7-34
          11                     JUNIATA                                  15-35
          3                      WILKES                                   10-14

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       N TO VICTORY WITH THE UPSALA FOOTBALL
       HEERLEADERS




                             CHEERLEADERS
         CAPTAINS; ALEXANDRA ASARO
             VALERIE JOVANOVIC
      :\ DeP ASQUAL         TRACEY RAMOS
-:._::RISTY MORAITES       ANGELA PAVLICK
   -:ERL YNN WASHING TON    MELISSA GRANT
  . :\CEY GAMBLE           JANET REYNOLDS
                 MONICA-MASCOT




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                                    VIKING VOLLEYBALL '86


                                                                                The Upsala womens volleyball
                                                                              team had all guns firing during
                                                                           the 1986 season. Along with post -
                                                                             ina a 30-3 regular season record,
                                                                             the girls compiled a list of out -
                                                                           standing accomplishments to show
                                                                         they were heads above the competi -
                                                                              tion. The ladies took first at the
                                                                        Rutgers and North Eastern Bible Col -
                                                                          lege tournaments and second at the
                                                                                           N.J.I.T.
                                                                               They also finished second in the
                                                                        Womens Intercollegiate Athletic Con -
                                                                         ference, and gained a coveter berth in
                                                                     the Middle Atlantic Conference Champion -
                                                                                           ships.




               Our ladies were paced, throughout the
        season by All-M.A.C and All-W.1.A.C stand-
            outs. Senior hitters Karen Hind and Dee
           Ekmekjian, and junior setter Keila Ravelo.
              The rest of the viking squad is made up
           of gusty young women, all of whom played
            pivitol roles during the season, and who
            will no doubt be raised to All-Star status
          in very little time. Sophomore Iliana Rod -
          riguez was a solid performer in the defen -
         sive backcourt, while freshmen hitters Carol
       Laghina and Ines Soria provided potent offen -
                            sivepunch.
            All of this added to timely help from subs,
        Martha Pauleus, Martha Garrido, Fran Ferrer,
       Wendy Riversand Elaine Charocopos equal a sea
        son that the Lady Vikings should be proud of.


                  1986 WOMEN'S VOLLEYBALL ROSTER
            NO.                                           NAME
            10                              EKMEKJISN, DEE
            1                             FERRER.FRANCES
            2                            GARRIDO.MARTHA
            7                                 HIND.KAREN
            12                             LAGINHA, CAROL
            6                            PAULEUS, MARTHA
            5                                RA VELO.KEILA                25-2RECORD
            3                            RODRIQUEZ.ILIANA
            8                                   SORIA,INES
            11                         CHAROCOPOS,ELAINE




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                           1986 UPSALA VIKING SOCCER

         TEAM ROSTER
                              NAME
                TOM FINNERTY
               ROBERT PHILLIPS
                   DAVID FRISK
            ANDREW NUSSBAUM
                    DOUG HOLT
                       TIM RIED
              DENIS LeBROCHET
           JORGE MONTENEGRO
              DAN GIOVINAZZO
                 JOHN CITROLO
            DONNY DANARDOJO
                 SIN MING MAH
                     ROB KASTL
             CRAIG DONNELLAN
              DARIO MARTINEZ
                     PETE MELE
                MIKE HARTMAN




    COACH GARY GARRETT

                   by Manuel Tavarez


                                                               vastly improved game, concentrating on
          Coming off a winless 1985 season, Upsala's                           defence, the
       soccer team in 1986 can be seen in two lights.      Vikings lost a 1-0 heartbreaker to the nationaly
        One, optimisticaly they did win more games        ranked powerhouse Drew. They posted victories
                             than                              over Bloomfield, 5-0. And beat Fairleigh
    last season and the games that they did lose were                           Dickenson
    a lot more competitive then ever. The other way                 4-0 for their homecoming win.
       to look at the past season is as one of transi -        The true highlights of the season were seen
    tion. A new coach, Gary Garret who is in his first                             every
           year at Upsala and is making a few new          last minute of the game. When your winning its
                         adjustments                                                easy               .
      to coaching. But any way you look at it this sea     to compete, but when the chips are down that's
                                                                                   when
          son was better than anyone expected.                the character of a team shows through the
          The win-loss column doesn't reflect the                                darkness.
                          intensity                          This was a team which played every minute
     and desire that marked the team's playing this                          with a burn-
                             year.                          ing desire to come out on top. Congradulations
      Every game was a struggle and whether they                                     are
                         won or loss                       in order for Coach Garret and Co-captains Tom
           it was a great effort and a great game.                               Finnerty
       With 1-0,2-0,2-1, losses,one has to know that       and Craig Donnelan on showing fine leadership
     this could've been an entirely different season.                           through-
                            With a                                        out the entire season.




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                                    WOMENS TENNIS



                                                          1986 WOMENS TENNIS ROSTER
                                                                       NAME
                                                      SUE WOLF             KELLY FERMO
                                                      ANDREA SZABO           DONNETTE
                                                                          CRUICHSHANK
                                                               ANGELA NADINO
                                                           COACH:DA VE BONAGURA




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                             ACOLLEGE




                         •1986-87

VIKING BASKETBALL
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                             1986 -1987 VIKING OUTLOOK




                                                          Head Coach: Russ Thompson
         Last season the Vikings succeeded                                          Playing strong throughout the entire season,
      in fulfilling nearly every team goal                                                             Adubato
      they set. Four Vikings averaged in dou -                                    proved this speculation to be true. The Prince
      ble figures as the entire squad contri -                                   of the 3 pointer, Adubato scored his 999th point
      buted to a 20 - 6 season record, Upsala's                                  at the first of two deciding games played earlier
      ninth straight winning year.                                              in March '86. Even thou_gh Upsala defeated NY •.
         This year after the graduation of such                                                          the
      strong forces as Jerry Gallicchio and Lou                                 deciding game over that weekend failed to allow
      Vincent, the Vikings will be heavily depend -                                                      the
      ing on senior guard Scott Adubato. A pure                                               Vikings into the playoffs.
      shooting threat, Adubato caught fire during                                   But none the less, strong performance by the
      the February drive averaging 16.2ppg for the                             team as a whole provided fans with entertainmen
      month and scoring double figures in nine straight                          and solid basketball profomance on the parts of
      games.                                                                    Carlos Owens, James Harris, Dave Flowers, Herb
                                                                                             Dixon and Prentice Melton.




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                         ASSISTANT COACHS




     MI KE TIERNEY            TIM DORAN                     SAM DOUGLAS




                        MEN'S BASKETBALL SCHEDULE '86-87
                                    NOVEMBER
                                                                     Viking Tip-off Tournament
                                                                Salsbury State, SUNY-New Paltz,
                                                                                  Castleton State
                                     DECEMBER
                                                                                  Eastern College
                                                                       City College of New York
                                                                   Hobart, Case Western Reserve
                                                                      Poly Institute of New York
- 29                                                                           Yule Cup Classic
  . 30                                                            Montclair State, Tufts, Widner
                                     JANUARY
                                                           Washington and Jefferson Tournament
 3                                                         Washington and Jefferson, St. Vincent
                                                                          Case Western Reserve
                                                                                Bethany College
                                                                                     Lock Haven
                                                                                Clark University
                                                                               Mount St. Mary's
                                                            Fairleigh Dickenson Univ.(Madison)
                                                                         Manhattanville College
                                                                           Staten Island College
                                     FEBRUARY
                                                                                   Kean College
                                                                           SUNY-Old Westbury
                                                                                Ramapo College
                                                                  University of Maine-Manchias
                                                                                SUNY-Purchase
                                                                             Catholic University
                                                                             Bloomfield College
                                                                           New York University
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           VIKING MEN'S BASKETBALL PLAYERS

No     Name                                        Pos        Ht      Wt                                 a             Hometown
 5     Prentice Melton          G          6-0        165                                             Fr.              Paterson, NJ
11     Bryan Bartley            G          6-2        185                                             Jr.              Elmsford, NY
12     Orlando Quinones         F          6-4        180                                             So.              Landisville, NJ
13    James Harris              G          6-3        180                                             Sr.              Philadelphia, PA
21     Charles Bridges          F          6-3        190                                             Jr.              Paterson, NJ
22     Dave Flowers            G-F         6-4        190                                             Jr.              Phillipsburg, NJ
24     Scott Adubato            G          6-1        175                                             Sr.              West Orange, NJ
30     Herb Dixon               F          6-5        195                                             So.              Boston, Mass.
31     Dave Walsh               F          6-5        185                                             Jr.              No. Arlington, NJ
32    Warren Davis              F          6-4        200                                             Jr.              Atlantic City, NJ
35     Carlos Owen              C          6-8        235                                             Jr.              Elkton, Md.
HEAD COACH: Russ Thompson
ASSISTANT COACHES: Ttm Doran, Sam Douglas, Mike Tierney

  The Vikings are hoping to make their ninth NCAA Tournament appearance in 1986. Last season Upsala
was the South Atlantic Regional runner-up with a 20-6 final record.
  With four of last year's starters gone, Upsala will rely on sharpshooting guard Scott Adubato and the
center tandem of Carlos Owen and Herb Dixon to give them a boost.
  Juniors Bryan Bartley, Dave Flowers and Charles Bridges also fit into the Vikings' game plans .




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                         WOMAN'S BASKETBALL




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                                      At print time the Vikings are     enough, as the Vikings held on for
                                   still playing their season of        their thrid win of the season.
                                   hockey. So far it ahs been one         Days later the Vikings were on
                                   plagued by injuries of which a few   the road again, this time to face
                                   key players are still suff - ering   playoff bound Quinnipiac. With
                                   from. In february the team travel    the Vikings behind 4-3 ,
                                   - ed to Delaware where they          Quinnipiac's powerful front line
                                   fought their way to a 9-8 victory.   took ad - vantage of a badly
                                   Tod Pasai led the way with five      battered Viking unit and moved
                                   goals. Early in the contest Upsala   on to a 8-4 victory. There were
                                   broke out to a 8-3 lead. However,    good performances by Brian
                                   their 13 man roster was put to the   Decker and Lou Franklin. Decker
                                   test late in the game as they were   had a trio of goals while Franklin
                                   outscored 5-2, but it wasn't         turned away 60 shots.




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             ALEXANDER ACOST A                                                MARIA ADAMS
                                                                              MAJOR:MCS
                                                                           MINOR:ECONOMICS
                                                                   FAREWELL SA YING: "Un Jour", est
                                                                     finallement arrive. Merci, a jour
                                                                    ceux qui m'on aide. Surtout a doi
                                                                                  Roger.




            TONI LEA ARMSTRONG                                              VICTOR AROCHO
      MAJOR:BUSINESS ADMINISTRATION                               MAJOR:BUSINESS ADMINISTRATION
           MINOR:MANAGEMENT                                          MINOR:COMPUTER SCIENCE
      FAREWELL SA YING:I finally made it!                                     KNOWN FOR: #83
       Thank god for blessing me with good                                ACTIVITIES:RHO ALPHA
       health and a great mother, who sup -                                PHI.FOOTBALL, TRACK
      ported me through all my college years.                  FAREWELL SA YING:I would like to thank my
                                                                                    parents
                                                                  for giving me the courage to continue my
                                                                                   education.
                                                             To the friends I made at Upsala, I wish you all the
                                                               luck. To Benny Rivera #13, THANKS for being
                                                                                     there
126                                                          for me. To the brothers of Rho Alpha Phi, may the
                                                                                tradition go on.
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             ALEXANDRA ASARO                                                SANDRA HOPE ATKINS

   . 1AJOR:MUL TINATIONAL CORPORATE                              MAJOR:HUMAN RESOURCE MANAGEME T
                 STUDIES                                                     MINOR:PSYCHOLOGY
 . ~ IVITIES:Cheerleading captain,Campus Life                        ACTIVITIES:Upsala College Gospel Choir,
-e::iate,Tau Beta Sigma, Alpha Kappa Psi.Work -                              junior class treasurer.
   shop 90 theater, chorus.judicial board.honors
                      program.                                  FAREWELL SA YING:"I can do all things through
                                                                 Christ which strengthened me." Philippians 4:3
                                                                I would also like to say thanks to my mother and
                                                                                       father.




              KAREN BARTLETT                                                    ALISON BAXTER
       MAJOR:ENGLISH/BROADCAST                                               MAJOR:SOCIAL WORK
           COMMUINCA TIO NS                                                  MINOR:PSYCHOLOGY
          KNOWN FOR:BEING A LUSH                                     FAREWELL SA YING:Thanks Mom and Dad
 ACTIVITIES:Humanities division senator.Foci
assistant editor,Academic Assembly, WFMU,Gaz
                   ette editor.
FAREWELL SA YING:"I guess its time to have our
  selves separated from the hip, its going to be
              a painful operation."
                                                                                                                   127
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              RICHARD BERGER                                                                    LU ANN BERTO
                 MAJOR:C.I.S.                                                          MAJOR:BIOT ,OGY /PSYCHOLOGY
      ACTIVITIES: Varsity football 4 years,                                            KNOWN FOR:Nails, rings, giggles
         Rho Alpha Phi, Intramurals                                                       ACTIVITIES:TRI BET A
                                                                                        FAREWELL SA YING:Thanks for
       FAREWELL SA YING:Brothers of                                                                 everything
                    PA<I> best                                                        these last 4 years. I love you mom 'n
       wishes and success in the future .                                                              dad.
                    Thanks to                                                         Tommy, thanks for being so special, I
      my family for all their support. Hey                                                           love you.
                     Bea "It
        is finally over ! To all my other
                     friends
                   Lets Party!!!


                                                       RICHARD BETTS
                                                      MAJOR:M.C.S
                                                  MINOR:Computer Science,
                                                       Philosophy
                                                ACTIVITIES:Ski Club.Intramural
                                                              Sports
                                              FAREWELL SA YING: I like to say Hi
                                                             to mom
                                               and dad. I love you Elizabeth Reed,
                                                              Jessica
                                              your the best. Stay high Gregg, Berry
                                                             +Duane
                                                   thank's god for everything.




               PAULBILGRAV                                                                    MATTHEW BOONE
             MAJOR:BUSINESS                                                                   MAJOR:BUSINESS
             ADMINISTRATION                                                                   ADMINISTRATION

      KNOWN FOR:Being 'So Cool' on my                                                 KNOWN FOR:Always being in the
                19th birth-                                                           game room.
         day. Being a brother of PA<I>.                                               ACTIVITIES:BSU
       ACTIVITES:Varsity football - 4                                                 FAR EWELL SA YING: I am so ver.-
                    years                                                             glad that I was able to attend Upsal.2
                                                                                      and I would like to thank my mo
         FAREWELL SA YING: WOW!!                                                      and dad for all the help anc:
                                                                                      encouragement the have given me
128                                                                                   these past 4 years. Thanks mom anc:
                                                                                      dad I love you.
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                JOHN BONE                                                          JOSEPH BOTTAZZI
          MAJOR:BUSINESS
          ADMINISTRATION
      MINOR:COMPUTER SCIENCE
       ACTIVITIES:BSU,Third World
                Students
         Organization.Intramural
            soccer,i::omputer
              science club. •
    FAREWELL SA YING:! would like to
              say, here's to the
    man of the house, .Mum! Those times
                I wasn't trying
     to walk in your footsteps , you were
              carrying me dad.
    Time to make a few of my own, time
                for bigger and
              better challenges.                  SANDRA BRADLEY




             VALERIE BRAGG                                                       CHERL YNNE BREWER
            MAJOR:BUSINESS
            ADMINISTRATION                                                         MAJOR:BUSINESS
          MINOR:MANAGEMENT                                                         ADMINISTRATION
   KNOWN FOR:Ebony Eyes                                                        ACTIVITIES:Accounting club
   ACTIVITIES:Alpha Kappa Psi, v.p
   Alpha Angels, Gopsel Choir.Resident                                     FAREWELL SA YING:"I did it, I
   Advisor.Black Student Union                                                   finally did it"
   FAREWELL SA YING:I'ld like to
   thank god for making it all
   possible.Thanks to Mom, Dad and
   Jon,I love you all.To all my "Alpha
   Angels" sisters, Love and Peace.
   Goodbye Upsala!!
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                THOMAS BREZA                                                                           PATTY CASEY
          MAJOR:HISTORY /BUSINESS                                                                 MAJOR:MCS/SPANISH
            KNOWN FOR:leaving on                                                             KNOWN FOR:Wicked city woman
             thursday,tuesday's at
              the pub, motorhead                                                             ACTIVITIES:lntervarsity Christian
      ACTIVITIES:Pub comittee, history club,                                                          Fellowship
                 AMMO club,                                                                         Alpha Phi Delta.
                    Ski club
                                                                                           FAREWELL SA YING:"Be kind to one
      FAREWELL SA YING:Now I have to get                                                               another, tender
             a real job. Thanks                                                            hearted, forgiving one another, as God
               Mom and Dad.                                                                               in Christ
                                                                                               forgave you." Ephesians 4:32




                                                         MARY ANNE CHOI
                                                    MAJOR:BIOLOGY /PRE-MED
                                                 KNOWN FOR:Always smiling and
                                                         laughing
                                                ACTIVITIES:Phi Beta Kappa, Honors
                                                              program
                                                     Tri Beta - secretary /vice
                                                         president,Tau Beta
                                                 Sigma, sophomore class president,
                                                             Intramural
                                                     floor hockey and football
                                                FAREWELL SA YING: I'ld like to thank
                                                            my friends and
                                                 especially my family for all their love
                                                              and support
                                               throughoput my 4 years at Upsala. They
                                                            made the rough
                                                   times smoother and th great times
                                                          greater. I wish them
                SUSAN CHURCH                    all health and happiness in the future .               VINNIACINA
      MAJOR:BIOLOGICAL ILLUSTRATION                                                        MAJOR:BUSINESS ADMINISTRATI
         KNOWN FOR:Adopting animals                                                                 ACTIVITIES:AMMO
         FAREWELL SA YING:To all the                                                       FAREWELL SA YING:Thanks Mom
                    professors                                                                           Dad for all
       who have helped and advised me and                                                  your love and support. To Karen, m
                       made                                                                              happiness
       these years better for me ... Thanks.                                                luck and success in your final year -
                                                                                                           Upsala.
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           SHARON CLONEY                                                           PRIMITIVA CORREA
        MAJOR:SOCIAL WORK
        MINOR:PSYCHOLOGY
    ACTIVITIES:YWCA Swim Team,
             ALATEEN
FAREWELL SA YING:The greatest love
                  of all
is happening in me. I found the greatest
        love of all inside of ME!




            WILLIE J. DIGGS                                                       STEVEN DONDERSHINE
       MAJOR:HUMAN RESOURCE
              MANAGEMENT                                                          MAJOR:PSYCHOLOGY
       MINOR:PSYCHOLOGY / ART
KNOWN FOR:G . Q., Mr. Diggs,                                                       ACTIVITIES:WFMU
Sayings;"Hello" "Trust Me" and I am not
concieted, just convinced. ACTIVITIES:Delta
Mid Club, BSU,Gospel Choir, Theater
Student Ambassador FAREWELL
SA YING:"Trust in the lord with all your
Heart; and lean not on your own
understandin. In all your ways Acknowledge
HIM and HE shall direct you Paths."
(Proverbs 3:5-6) I would like to say goodbye
to all my Mooka's and Mook-Mooks!                                                                      131
(Because This is Why!)
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                   CRAIG DONNELLAN                                  MICHAEL DUMMETT
           MAJOR:BUSINESS ADMINISTRATION                         MAJOR:COMMUNICA TIO NS
                                                                  MINOR:ANTHROPOLOGY
           ACTIVITIES:Soccer captain, president
            Theta Epsilon, IFC Representative             KNOWN FOR:Speaking my mind and ex -
                                                               pressing fellings that others try
                                                                            to hide.
                                                          ACTIVITIES:Upsala's mens Basketball team
                                                       FAREWELL SA YING: You will never find another
                                                       man like me. Remember"Try Jah Love!!!" BLUNT
                                                                          ME!!




               CORNELIUS DUANE EADDY                                    LEE EDWARDS
                                                        MAJOR:HUMAN RESOURCE MANAGEMENT
                    MAJOR:THEATER                     MINOR:PSYCHOLOGY,ANTHROPOLOGY,BUSINESS
                KNOWN FOR:Daily crushes               KNOWN FOR:Part of the TH 21 crew (Weez and
                                                      Patty D),wiffle ball pitch master .
          ACTIVITIES:Workshop 90, Viking mascot       ACTIVITIES: Varsity Golf,Intram urals, Treasurer
              Gospel Choir, Chamber Choir             and secretary Rho Alpha Phi.
                                                      FAREWELL SAYING: Thanks Mom and Dad fo r
       FAREWELLSAYING:WOW/4YRS/GONE/Who               putting up with me and letting me further my
                      would believe                   education these past years. You both are the best
                        it/Sing                       parents anyone could ever hope for. I'll never forge t
      Stevie/Nix/Sweetbutt/Thanx/God/Mom/Dad/Sue      your loving concern. Thanks Kirsten for being there
                                                      for me, showing me you care and having
132                                                   confidence in me. You are the greatest, I love you.
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         DEIRDRE MARI EKMEKJIAN                                               KELLY FERMO
                 MAJOR:CIS                                          MAJOR:HUMAN RESOURCE
                                                              MANAGEMENT /BUSINESS ADMINISTRATION
ACTIVITIES:Tau Beta Sigma, Volleyball-Captain
 Basketball, Softball,ISC president.Junior class              ACTIVITIES:CLS president,R.A.,Softball, Tennis
                 president,CLS
                                                                FAREWELL SA YING: Thanx to everyone who
FAREWELL SA YING: Thanx for everything Mom                                    made my4yrs
                  and Dad                                     at Upsala a memorable experience,(Especially all
    Lisa, Danny and Mardi. It's been real.                     members of TH 36). Thank you Mom and Dad, I
                                                                                Love You.




           THOMAS C. FINNERTY                                               FAITH FOPPIANI
           MAJOR:MCS/SPANISH                                             MAJOR:MCS/SPANISH
         KNOWN FOR:ZOO KEEPER                                 ACTIVITIES:Tau Beta Sigma.Alpha Kappa Psi,
                                                               Campus Life Senate, Student Ambassadors,
ACTIVITIES:Soccer,honors program,1.F.C. rep.,                               Spanish Club
                C.A.,0E
                                                              FAREWELL SA YING:To my parents and family,
  FAR EWELL SA YING: I LOVED THE FOOD                           thank you for making these past four rears
                                                                possible. To my sorority, I love you al and
                                                               hope all your dreams come true. To the class
                                                               of 1987, The Best of Luck in All That You Do.
                                                                                                                 133
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                    DAVID FROMKIN                                                  CA THERINE FUTYMMA
                                                                                 MAJOR:HUMAN RESOURCE
                                                                                      MANAGEMENT
                                                                                 BUSINESS ADMINISTRATION
                                                                                    MINOR:PSYCHOLOGY
                                                                              ACTIVIITES:Alpha Kappa Psi,Student
                                                                                         Orientation
                                                                                         Counselor
                                                                         FAREWELL SA YING:Good times with good
                                                                                       friends




                                                                       lb,_


                    TRACEY GAMBLE                                                     JOHN GARRIGAN
              MAJOR:HUMAN RESOURCE
                  MANAGEMENT
                MINOR:PSYCHOLOGY
      KNOWN FOR:Singing voice,being James girl
      -friend.
      ACTIVITIES:Gospel Choir,Captain of
      Basketball Cheerleaders.
      FAREWELL SA YING:'God grant me the
      serenity to acce_pt the things I can, the courage
      to change the things I can and the wisdom to
      know the dif - fernece.Goodbye Sandra
      A. ,Sandra W. and Marlene.
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            MARLENE GAUDIN                                             DANIEL GIOVINAZZO
           MAJOR:BUSINESS                                     MAJOR:BUSINESS ADMINISTRATION/
       ADMINISTRATION /SPANISH                                          ECONOMICS
           MINOR:FINANCE
                                                                ACTIVITIES:Theta Epsilon Fraternity
       KNOWN FOR:Shorty,Mar-Mar
                                                             FAREWELL SA YING:Mom and Dad, thank
ACTIVITIES:Track, Gospel Choir, Intervar -                                       you
        sity Fellowship Ministry                               for your support these last 4 years. To
                                                              all us graduates, may we all prosper and
 FAREWELL SA YING:John 3:16'For god so                            lead successful lives in the future.
                  loved the         ,
world that he gave his only begotten son that
whosoever believeth in him should not perish
                     but
            have everlasting life.'




           JAMES L. HARRIS JR.                                           MIKE HARTMAN
       MAJOR:HUMAN RESOURCE                                    MAJOR:BUSINESS ADMINISTRATION
           MANAGEMENT                                                MINOR:MARKETING
         MINOR:PSYCHOLOGY
                                                            KNOWN FOR :Something but I cant
    KNOWN FOR:Bright eyes and smile                         rem.ember.
                                                            ACTIVITIES: Golf, Soccer, Pres. senior class,
   ACTIVITIES:Basketball, Student govt.                     Workshop 90, No'fat chicks' com - mittee
                BSU.                                        member.
                                                            FAR EWELL SA YING:The food was great,
 FARE WELL SA YING:! feel as though I left                  loved the neighhorhood, Thanks family!
 my mark on Upsala College. (T.G. you made
             it worth while.)

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                    ELLEN HEERWIG                                             STEVE HELMKE
                 MAJOR:SOCIAL WORK
                 MINOR:PSYCHOLOGY
              KNOWN FOR: "Docotor Ruth"
        FAREWELL SA YING:George , Mary,Loretta
           and Oma - thanks for being there!




                SHARI HIRSCHKIOWITZ                                       EDWARD HONCHEN
         MAJOR:BUSINESS ADMINISTRATION                             MAJOR:BUSINESS MANAGEMENT
                 ACTIVITIES:A.M.M .O                               ACTIVITES: Varsity football,baseball,
                                                                     and brother of Rho Alpha Phi.
      FAREWELL SA YING:Thanks Mom and Dad for
        putting me through school.I love you both            FAR EWELL SA YING:To my friends at this col -
        Vinnia, thanks for being a good friend and               lege , I wish them luck in the future.And
       for always being there. Good luck everyone.             to Nancy who I Jove ver;1 much, thanks for
                                                                I.he last two years of college which made
                                                                                  it the best.

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        LAURA JANE JACOBS                                       KHADIJAH KALIMAH
                                                       MAJOR:BUSINESS ADMINISTRATION
                                                       MINOR:MARKETING /MANAGEMENT
                                                            KNOWN FOR:PINK REBOKS
                                                      ACTIVITIES:Resident Director,C.A,Alpha
                                                      Kappa Psi, BSU, Phi Beta Sigma sweetheart,
                                                                 CLS-EPC chairperson
                                                  FAREWELL SA YING:To my family and friends
                                                     Thanks for the support you've given me
                                                     and I love you."Happiness is the key to
                                                    success and as long as your happy, you'll
                                                                 be successful."




                                                                         ,.,,..,.   ~




            SUSAN KERN                                             EDWARD KING
MAJOR: MULTINATIONAL CORPORATION                       MAJOR:BUSINESS ADMINISTRATION
             STUDIES,                                      MINOR:ANTHROPOLOGY
         German Translation
                                                          ACTIVITIES:Theta Epsilon, Capt.
   ACTIVITIES: Theta Beta Gamma -                                  water polo.
              President
                                                 FAREWELL SAYING: Next stop: The Real World




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                     ELEANOR KING                                                HARRY KNECHT
                 MAJOR:BIOCHEMISTRY                                             MAJOR:ENGLISH
                                                                              MINOR:PSYCHOLOGY
         ACTIVITIES:Delta Sigma Theta, Gospel
           Choir,Student Ambassador,BSU                                  FAREWELL SA YING:I shall always
                                                                           look back to my return to school
         FAREWELL SA YING:Through Christ, all                             and delight that it was Upsala. A
             things are possible for those who                           school now firmly implanted in my
            believe and I am a believer. I thank                                        heart.
          god for those who have encouraged me
            to keep the faith. Special thanks to
          my parents who have been by my side
                       through it all.




                     LISA KOPENSKY                                             JOSEPH LABRINCHA
         MAJOR:BUSINESS ADMINISTRATION                                          MAJOR:M.C.S
      MINOR:COMPUTER INFORMATION SYSTEMS                                 MINOR:ECONOMICS/SPANISH
        FAREWELL SA YING:Thanks to my family                         ACTIVITIES:Economics club, Honors
        and friends who have supported me dur -                                 Program.
         ing my colege years. I wish all my friends
           the best of luck, all the years at Upsala              FAREWELL SA YING:Set your sights high and
        have been full of memories that wil be re -                srive for them with all your will and de -
                          membered.                                 termination and nothing will impead you
                                                                                      path.


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            RITA LANG LI                                           RICHARD LINDSEY
           MAJOR:MCS
        MINOR:ECONOMICS
         ACTIVITIES:AMMO
FAREWELL SA YING:A special thanks to
my Mom and Dad who have always been
   there when I needed their supJ?ort.
  Will always rem: good times w / great
friends at Upsy, Orient, Mo-ma's, Ver -
  mont '83+84. Ney babe - Let's Bleep!




        JOHN HENRY LOPEZ                                              MARK LUISI
MAJOR:BUSINESS ADMINISTRATION                                     MAJOR:MARKETING
     MINOR:MANAGEMENT                                    MINOR:ANTHROPOLOGY /BUSINESS
                                                   KNOWN FOR: WEEZE
  ACTIVITIES: Theta Epsilon,Soccer                 ACTIVITIES: Baseball'84,Football four years
       Theater, Spanish Club                       Capt.86, Intramurals.
                                                   FAREWELL SA YING: WINNING ISN ' T
FAREWELL SA YING: Success lies not                 EVERYTHING
   in being the best, but in doing                 BUT LOSING SUCKS. A special thanks to GOD for
  your best. Thank god I'm out and                 guiding me through this. Mom and Dad thanks for
thank you Mom and Dad for every -                  the never ending support and for being the greatest
               thing.                              football fans in the world. To my sister Sherri,
                                                   thanks for letting me know I always had a best
                                                   friend to talk to. Will always remember Football
                                                   camp,Rats,Ed's,Via's , Dana Dane , Dean               139
                                                   Mac,Sunbathing,Buggin 'out, Old Main and #18
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                JO-ANN MACK                                            THOMAS MERTZ
            MAJOR:PSYCHOLOGY                                MAJOR:BUSINESS ADMINISTRATION
                                                              MINOR:ECONOMICS/HISTORY
       ACTIVITIES:Student Ambassadors,
        Psi Chi president, I.F.C secretary                     KNOWN FOR:Leaving on thursday
                                                               ACTIVITIES:lntramurals, AMMO,
                                                                 History Club, Teachers Asst.
                                                                          Ski Club.
                                                            FAREWELL SA YING: IT'S BEEN REAL
                                                             EXPENSIVE. Thanks Mom and Dad.




           LAWREN CE MEZZACCA                                          AMANDA MROZ
                                                                    MAJOR:THEATER
                                                                MINOR:GENERAL BUSINESS
                                                                    KNOWN FOR:Gertrude
                                                       ACTIVITIES:Chamber singers,Alpha Phi Delta,
                                                       I.S.C, Diners Club, Inter - varsity Christian
                                                       Fellowship.
                                                       FAREWELL SA YING: Thank you Mon and Dad
                                                       and Janina for supporting me for the last 4 years.
                                                       "If I explore the heavens or if I search inside, it
                                                       really doesn't matter as long as I can tell myself,
                                                       I've always tried." -ABBA
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                 RITA MUNSHI                                            KATHLEEN MURRAY
               MAJOR: M.C.S.                                            MAJOR:ENGLISH
             MINOR:MARKETING                                        MINOR:COMMUNICA TIONS
               ACTIVITIES: R.A.                                  ACTIVITIES: Ass't Editor of Gazette,
                                                                    Student Liaison Committee.
     FAREWELL SA YING: I'ld like to thank
      my family for their support, love, and
      trust. I have a long way to go and a lot
    to do and with God's help I will acheive
                   all my dreams.




             LORENA NAVARRO                                            CHARLES NELSON JR.
                MAJOR:M.C.S                                       MAJOR:COMPUTER/ BUSINESS
               MINOR:SP ANISH                                         MINOR:EDUCA TION
      ACTIVITIES: L.A.U , International                              ACTIVITIES:Computer Club
     Students Organization, Spanish Club
                                                               FAREWELL SA YING: Completed 4 years
 FAREWELL SA YING: Thanks to Mom and Dad                           of college in 2 half years with a
     for all your love and support and also                     double major and teacher certification.
     John and Julie. Also thanks to all my
    special friends who made the past four
                 years bearable.


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                ELAINE NETHERSOLE                                             JOUHAUD NICOLAS
             MAJOR:HRM/PSYCHOLOGY                                               MAJOR:M.C.S
                 MINOR:HISTORY                                               MINOR:ACCOUNTING
         KNOWN FOR: Being quite and smile.                                KNOWN FOR:Hosting the first
                                                                        bilingual show on WFMU.(French/
      FAREWELL SA YING: The struggle is my life.                                     English)
       We need to continue to struggle for what is
                    right and just.                                    FAREWELL SA YING: My stay here has
                                                                         been a most useful and wonderful
                                                                        experience. I enjoyed every moment
                                                                                        of it.




                 SUSANNE OHLSSON                                             NICOLASS OLIJSLAGER
             MAJOR:MCS/SWEDISH                                               MAJOR:MCS/FRENCH
        MINOR:BUSINESS ADMINISTRATION                                        MINOR:ECONOMICS
         ACTIVITIES:Tau Beta Sigma, Home -                                KNOWN FOR:Mister Nice Guy,
           coming Committee, Intramurals.                                   Crazy strange Dutchman
        FAREWELL SA YING: Upsala has been a                       FAREWELL SA YING:"Comme La Vie Est Dur"
          memorable experience. I'd like to                         Tomorrow is an other day. Wat Een Ervar -
           thank my family and friends that                        ing op Gedaan Zenbu Wakarimasu (someday)
                  made it possible.                                  Love to all my dear friends. I came to this
                                                                          country in a daze .. and still am.


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                     UPSALA PERSONALS




             TONY A O'NEAL                                          ROSE PAPPAS
     MAJOR:HRM/PSYCHOLOGY                                    MAJOR:ANTHROPOLOGY
  MINOR:MANAGEMENT /MARKETING                            MINOR:SOCIOLOGY /BUSINESS ADM.
FAREWELL SA YING:Thanks to Mom and Dad                     ACTIVITIES:Student Ambassador,
    for supporting me. Also thanks to my                  Commuter Council,CLS,EPC,Gazette
   family and special friends. Time to get
        a real job and stop borrowing.                   FAREWELL SA YING:May the lord watch
                                                           between me and thee while we are
                                                               absent one from the other.




         JOAN THERESA PETIY A                                   MARGARET PRIBULA
  FAREWELL SA YING: TO THE CLASS                         MAJOR:BUSINESS ADMINIST ATION
  OF 1987 HAVE A NICE LIFE!! THANKS
           MOM AND DAD.                                     ACTIVITIES: Volleyball,AMMO
                                                    FAREWELL SA YING: Congrads and goodluck,
                                                          friends forever. Sue, Rita, Billy, Piete.
                                                    Hey Babe! Mo-Mo's dont look now but.. Parking
                                                     lot parties. Who's Paul? Clam Chowder, Party
                                                                     town, Share '86.




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                               UPSALA PERSONALS




              NANCY DENISE PROCTOR                                      JANET REYNOLDS
             MAJOR:COMMUNICATIONS
          ACITIVITIES:BSU, Upsalite, Phi Beta
          Sigma sweetheart, Pep Club Member
       FAREWELL SA YING:Faith is the substance
           of things hoped for, the evidence of
        things unseen. To my family and friends
      your support and love was deeply apprecia -
                    ted. Thank you all.




                 MARTY REYNOLDS                                           JUANA RIVAS
                MAJOR:ACCOUNTING
         ACTIVITIES:Accounting club member
         newspaper member at Wirths Campus




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                       UPSALA PERSONALS




             STEPHEN RUSNAK                                              TA TSUTO SAKAI
MAJOR:ACCOUNTIN,ECONOMICS,BUSINESS                                     MAJOR:BIOLOGY
             ADMIN.                                            MINOR:CHEMISTRY /MATHEMATICS
ACTIVITIES:Alpha Kappa Psi.Alpha Phi Omega,                   ACTIVITIES:Founder of Diners Club, meet
              I.F.C. president                                  12 midnight and go out to eat dinner.
FAREWELL SA YING: Thank you Mom and Dad,                    FAREWELL SA YING: Thank you Upsala, I truly
                    Debbie                                      enjoyed college student life in U.S.A
and Susan for your loving support and patience.




              RICCI SALSANO                                              DEBRA SAVAGE
                                                               MAJOR:BUSINESS ADMINISTRATION
                                                            ACTIVITIES:Vice president AMMO, teaching
                                                                  assistant,Phonathon volunteer
                                                             FAREWELL SA YING: Iwill have many good
                                                                memories of Upsala, but I'm glad I'm
                                                                             finished.




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                                       UPSALA PERSONALS




                              DAVID SEALY                                            DONALD SEAMAN
                            MAJOR:BIOLOGY
               MINOR:ANTHOROPOLOGY /CHEMISRTY                                   MAJOR:COMMUNICATIONS
                                                                                  MINOR:PSYCHOLOGY
            KNOWN FOR:"Quote . . . Unquote"
            ACTIVITIES:C.A.,R.D.,Pub manager
            CLS,Natural Science Senator,Tri Beta                       KNOWN FOR:A nice quiet person with flashes
            BSU,Student Ambassador.Honors Program                      of humour from time to time.
            Security Committe                                          ACTIVITIES:WFMU
            FAREWELL SAYING:When I first came here to                  FAREWELL SAYING:My success is due to my
            Upsala, I thought that because I was foreign born          parents' efforts. Through their constant support
            that I wouldn't be able to accomplish anything             of me, I have become what I am. They taught me
            ... But now four years later I've accomplished             respect,concern, and all things that I feel are
            all that I have set ou to do and more. The Key: a          important to me. Thank you for my future.
            positive mentality and perserverance. For a lone
            Bajan boy, you've come along way.




                              JOHN SENA                                               SUZANNE SHELL
                           MAJOR:BIOLOGY
            KNOWN FOR:Joking around and keeping people                          MAJOR:COMMUNICATIONS
            happy, especially in boring classes.                                    MINOR:BUSINESS
            ACT~VITIES: CLS - PPC Chairman, Progr -
            ammmg Assistant, Tri Beta vice president and               KNOWN FOR:My Laser,'so many men, so little
            president 86-87,Teaching Assistant                         time'
            FAR EWELL SA YING:Thanks to all my                         ACTIVITIES: Alpha Kappa Psi.Gazette, Student
            professors at Upsala, especially Dr. Choi for all          Ambassador.
            their help throughout my 4 years here. Thanks              FAREWELL SAYING:Thank you to my parents
            to all my friends, especially Mary Ann Choi and            for sending me to school. To Tina; Thank you for
            John Garrigan, for making the 4 years m_y best.            all of your help. To my friends, I'll miss you a
            Thanks especially to Mom and Dad for all their             great deal.
            love and support.
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                        UPSALA PERSONALS




                 JOSEPH SISTO                                          ALECK SIY AKWAZI
                                                              MAJOR:COMPUTER INFORMATION
                                                                       SYSTEMS
                                                               FAREWELL SA YING:It is true there is
                                                               much to be done, and perhaps you are
                                                                weak-handed, but stick to it steadily
                                                                    and success will be born.




                LISA STANWICH                                           ANDREA SZABO

     MAJOR:SOCIAL WORK/SOCIOLOGY                                     MAJOR:MCS/GERMAN
      MINOR:PSYCHOLOGY /ENGLISH                                       MINOR:ECONOMICS

 KNOWN FOR:Escaping from E.O.G.H.!                        KNOWN FOR:Andi's Candies
 ACTIVITIES:Alpha Phi Delta, Inter - varsity              ACTIVITIES:Tau Beta Sigma,CLS Student
 Christian Fellowship, Stud - ent Ambassadors,            Ambassadors, Gazette, I.S.C Intramurals,
 Chamber Singers                                          AIESEC, Homecoming Committee
 FAREWELL SA YING:Thanks to the lord, my                  FAREWELL SA YING:To all my friends and
 sisters, Allyson'the spud'Backrubs, Cindy the            family "You've made the past four years the
 spaz, my Mayes family, the cat, and thee "home"          most won - derful and unforgettable of my
 people who helped pull me through.                       life." I love you all.

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                     UPSALA PERSONALS


                                    ROSA TEJERO
                             MAJOR:ECONOMICS/MCS
                         KNOWN FOR:'No
                         problem','Mexican accent'
                         ACTIVITIES:Alpha Kappa Psi.Tau
                         Beta Sigma,Gazette,tutor
                         FAREWELL SAYING:I thank my
                         parents for their love and support
                         during my years at Upsala. I finally
                         made it Dad! Julie;Thank you for
                         your love and caring. Go all the way
                         O.K.! To Fida for all the wonderful
                         moments I have with you I love you
                         very much!! Really, I swear it is the
                         truth!! Greta:Thank you very much
                         for all the love and understanding.
                         Rose, I will never forget one of the
                         best friends I got at Upsala. Cindy
                         and Debbie thank you and keep up
                         with the good work!To my: grand -
                         parents for their love and support.
                         Elaine; be patient TAUS ARE IT!! To
                         everybody Good Luck.




                                                                                  GLEN THOMAS




                                        SUSAN THOMPSON
                                       MAJOR:SOCIAL WORK
                                       MINOR:PSYCHOLOGY
                                KNOWN FOR:Mommy
                                ACTIVITIES:G.D.I
                                FAREWELL SAYING: My friends I
                                wish you all lots of luch and
                                happiness in your future! Thanks
                                Mom and Dad!




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                   UPSALA PERSONALS




 ROBERT THEODOOR van VOORST
MAJOR:BUSINESS ADMINISTRATION
      MINOR:ECONOMICS




                 FUENTES ROSEMARIE VELEZ




                                                         DANIELLE VOGLER
                                                        MAJOR:ACCOUNTING
                                                        MINOR:ECONOMICS

                                                   KNOWN FOR: Constant smile, Danie
                                                               skinny legs
                                                              ACTIVITIES:
                                                      Accounting/ Economics Club
                                                     president, Teachers Assistant
                                                     Library Assistant, Accounting
                                                    Internship Assistant, Intramural
                                                                 Sports.
                                                   FAR EWELL SA YING: THANK GOD
                                                          I'M OUT OF HERE!!            149
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                                      UPSALA PERSONALS




                                                                                               DAVID WALSH
                                                                                        MAJOR:HISTORY /ENGLISH
                                                                                    KNOWN FOR:Being the 'Stork'
                                                                                    ACTIVITIES: Varsity basketball,
                                                                                    Varsity baseball
                                                                                    FAREWELL SAYING: After five
                                                                                    years, I have had quite enough of
                                                                                    college.




                                                                        WILLIAM WALSH
                                                                     MAJOR:SOCIAL WORK
                                                                       MINOR:HISTORY
                                                               KNOWN FOR:Smile, laugh
                                                               ACTIVITIES:Swim team
                                                               FAREWELL SAYING:! would like to
                                                               thank my Mom and Dad for all their
                                                               su_1;>port. Hey Babe, Good timew
                                                               w / all my buddies.parking lot parties,
                                                               brewskies, bagging-peer pressure,
                                                               'miracles again?!' Dont look now ..
                                                               but; hey Paul. MO-MO, Spit it out
                                                               baby, Lunch with the gang, micky
                                                               D's, Grill cheese hold, blarney stone,
                                                               Partying on my 21st with Sue and
                                                               Reet. Lets blow this popsicle stand.
                                                               Chow! Watch the margins, Bill. C.C.
                                                               Sue and Reet.
            WENDY APRIL WHEELER
              MAJOR:BIOLOGY
      KNOWN FOR: Mrs. Beasly
      ACTJVITIES:Intervarsity Christian Fellowship
      Alpha Phi Delta, Honors program, Student Am
      - bassadors, CLS elections cliairperson
      FAREWELL SAYING:He who gives heed to the
      word will prosper, and happy is he who trust
      the lord. Proverbs 16:20. Thanks Dad, Mom,
      Rick and Dan for all your support, and for the
      freedom to make my own mistakes and discover
      my own sorrows and abundant joys. To you and
      to Patty, Carolyn, Lisa, Jeannie, and all the
150   sisters of Alpha Phi Delta - I love you. The lord
      has truly blessed me with all of you.
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                        UPSALA PERSONALS




           SUSAN WILBERT
           MAJOR:BUSINESS
          ADMINISTRATION
         MINOR:MARKETING
 KNOWN FOR:Bagging
 ACTIVITIES:AMMO
 FAREWELL SAYING: Let's bag! G
 T'S w/RL,PP, W.U. , B.W., parking lot
 parties, doorbells orien, '83,vt
 '83,'84,'85,shore '86, cigy 's grill
 cheese, DWI'S, OH! No AML to Diete,
 Let's motivate, Thank you Mom and
 Dad.




                             SANDRA WILLIAMS
                         MAJOR:PUBLIC SERVICE
                        MINOR:POLITICAL SCIENCE
                      KNOWN FOR:"Not for my taste"/
                              Too much
                             for my taste.
                         ACTIVITIES:Political Science
                               Club.Pre-Law
                          Club, BSU, Gospel Choir.
                        FAREWELL SA YING: Thanks
                            Mother and Daddy for
                       allowing me to Dream!! Love Ya.



                                                                    SHERRY WILLIAMS




                                                                                               151
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                            UPSALA PERSONALS




                                                                   STEVEN WILLIS
                                                             MAJOR: POLITICAL SCIENCE




                                                  BARBARA WILSON




           GEBREWAHID WOLDU
             MAJOR:BIOLOGY
      ACTIVITIES:Tri Beta, R.A, Student
               Ambassador



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                      UPSALA PERSONALS




        SUZANNE WOLF
     MAJOR:MCS/SWEDISH
      MINOR:MARKETING
      ACTIVITIES:Tau Beta
       Sigma,Homecoming
Court.Women's Team Tennis '85,'86.




                                                       LEIGH ANDREW ZONA




                                                                                             153
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                                UPSALA PERSONALS


                                                  CAMERA SHY

                KAMAL DARWICH AHMAD                                               EDGAR LOPEZ
                  MAJOR:BUSINESS                                              MAJOR:MCS /BUSINESS
           FAREWELL SA YING:! LOVE YOU ALL
                                                                       FAREWELL SA YING:THANK YOU UPSALA
                                                                          'I LOVE YOU ALL LITTLE BABIES',
                   ROBIN RENEE BROWN                                    THANKS LIBRARY SERVICES, THANKS
                                                                                      TO ALL.
           MAJOR:BUSINESS ADMINISTRATION
         FAREWELL SA YING:"I'M OUTT A HERE!!!"
                                                                                   KEITH MOON
                       ELISSA COHEN                                              MAJOR:BUSINESS
                                                                                MINOR:CHEMISTRY
                    MAJOR:BIOLOGY
             MINOR:BUSINESS MANAGEMENT                              FARE WELL SA YING:! HA VENT BEEN WELL
                                                                                   SINCE '78
      FAREWELL SA YING:Thank you Mom and Dad for                  BUT NOW I'M BACK AND I CAN SEE FOR MILES.
           all your loving support. A special thanks to                            THANKS
      all my friends who have made Upsala a memorable              TO PETE,ROGER,JOHN AND ALL THE OTHERS
       and 'interesting 'experience. It would have never                       IN MY GENER-
                   been the same without you.                                       ATION.

                    MARIA GIANNOBILE                                            DARRIN L. MURRAY
                        MAJOR:MCS                                        MAJOR:BUSINESS ADMINISTRATION
                                                                       FAREWELL SA YING:PLANS TO PURSUE A
                   ROBERT MARK KASTL                                               CAREER IN
                                                                       ADVERTISING AND TO MOVE FAR AWAY
                MAJOR:ECONOMICS                                                 FROM NEW JERSEY.
      FAREWELL SAYING:THANKS MOM, DAD AND                              THANK GOD FOR GRADUATION. LOVE YA
                       ED                                                          JEANETTE.

                   JOHN MARK KUPER US                                            HARRY SHIVDAT
                    MAJOR:MCS                                                 MAJOR:ACCOUNTING
          FAREWELL SA YING:THANK GOD I'M A                             FAREWELL SA YING:! HA TE THIS SCHOOL
                  COUNTRY BOY.
                                                                                  JOSEPH SISTO
                                                                      MAJOR:BUSINESS ADMINISTRATION
                                                                   FAREWELL SA YING:GOOD LUCK TO ALL MY
                                                                                  FRIENDS
                                                                             AND CLASSMATES.

                                                                                 BRIAN F. ST AUFF
                                                                      MAJOR:BUSINESS ADMINISTRATION
                                                                         ACTIVITIES:RHO ALPHA PHI
                                                                  FAREWELL SA YING:THANKS FOR EVERYTHING
                                                                                 MOM AND
                                                                                DAD.GO RHO.




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                             CANDIDS




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                                   CANDIDS




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                                   CANDIDS




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                                    CANDIDS




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                 THE FUTURE OF UPSALA
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      Case 3:23-cv-22130-MCR-ZCB      Document 155-11         Filed 03/14/25   Page 164 of 172
                                       Boosters
                                         Janice Bottazzi
                                    Dom and Trudy Giovinazzo

      Congratulations to: John E. Senq & Mary Anne Choi & John Garrigan and the Class of "87"

                         Good Luck John Love Mom & Dad & Aunt Maria
                        God bless the class of "87" Aunt Marie & Uncle Lou

                                 Cal. is calling but N. Y. is waiting!
                                  With love & pride Dad & Mom.

                                      Congratulations Vinnia
                                              Love
                                         Mom and Dad

                                          Robert Jortberg
                                        E. V. Bantat Co. Inc.




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     Best Wishes for the Class of 1987 from Upsala Alumni,
     Ted Aanensen ('66) and Gayle (Eggen) Aanensen ('67).




               CONGRATULATIONS SENIORS!
                                                                             Nicholas Cioppettinl
                                                                             President




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 .I
                                                 Best Wishes
                                                     and
                                                 Good Luck
                                                    to the
                                                Class of 1987
     I
                                                                           The Rozawsky Family
                                                                                                           John, Sr.
                                                                                                             Gloria
                                                                                                           John, Jr.
                                                                                                             Robert
                                                                                                              Kelly
                                                                                                           Timothy




                                                                 Good Luck Shari -
                                                                   May your future be as bright as you have
               CONGRATULATIONS TO THE CLASS
                                                                 made all our lives and may you find as
                               OF 1987
                                                                 much happiness as you have given us. You
                                                                 have come a long way and deserve only the
                                                                 best.
                       MR. AND MRS. ROY WALKER
                                                                                            Love, Happiness, & Joy
                                                                                            Mom, Dad, Amy & Dana




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                                                         Congratulations
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                                                    Congratulations to
       Alexandra
   and to the class of'87                          DAVE WALSH
                                                    FROM MOM/POP
 Nick, Susan & Nicholas P.                          Sharon and Danny
           Asaro




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                                   ATTORNEYS AT LAW


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..                                                                                                                                                 -
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                                                                                      JOSEPH COOPER., M.D.
11 ,




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                                                                                            72 Main Street. South River. N.J 08882      167
                                                                                                            238-8989
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                         RICCIARDI BROS.                                                          Brithright
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                             Food Always Available                                              South Orange Storage
                                    Lunch
                              Monday-Friday 11-2                         219 Valley St.                                 South Orange, NJ
                             Open 7 Days a Week
                        Private Room     Family Prices
                                                                         ROBIN HUTCHINS                         ROLYCOMB CHEMICAL
                                                                        GALLERY/762-4714                          CORP./338-3955
                                                                        176 maplewood Ave.                      400 Broad Acres Drive
                                                                          Maplewood, NJ                            Bloomfield, NJ
                                                                                                                                                 .._
                                                                                                               PRESTON FUNERAL HOME
     558 Arlington Ave.                                    748-3440        WESSON WINES                                762-1133
     East Orange, NJ                                       748-4405          & LIQUORS                           153 S. Orange Avenue
                                                                              674-2800                             South Orange, NJ
      JIM GRIGGS AUTO SERVICE                        LaMONICA              582 Main Street
      263 Lincoln St., E. Orange                  MEMORIAL HOME            East Orange, NJ                            DR. ROBINSON
      DR. CARL ROSS, M.D./672-0231                    743-4434                                                          763-3242
      185 Central Ave., E. Orange, NJ            299 Bloomfield Ave.                                               2130 Millburn Avenue
      PLEASANTDALE FLORIST & NURSERIES             Bloomfield, NJ                                                     Maplewood, NJ
                                                                             DAIL-N-DRIVE
      240 Pleasant Valley Way, West Orange, NJ                                761-6474                          WAYNE COFFEE CO., INC.
      MARINE FASTERNERS & SUPPLY CO                                     1649 Springfield Avenue                        673-0236
      50 S. Orange Ave., So. Orange, NJ      WILLIAM H. YEOMAN INC.                                                22·32 Lincoln St.
                                                                            Maplewood, NJ
      CENTRAL AVENUE PAINTING                       674-8994                                                       East Orange, NJ
      423 Central Ave., E. Orange, NJ           127 Brighton Ave.
      PATRICIA'S HOUSE OF BEAUTY                 East Orange, NJ        SHUL TE'S PIPE SHOP/ 762-5175              ALAN GRASSIANO CO.
      68 Fourth St., E. Orange, NJ                                      1628 Springfield Ave., Maplewood, NJ             575-4744
      NEW MAIN SUNOCO/675-4226                                          SANFORD REALTY CO./674-4556                  116 Fairfield Road
      51 Main St., E. Orange NJ                                         168 Sanford, East Orange, NJ                   Fairfield, NJ
'     ROSE BROOK DELICATESSEN                    COMPLIMENTS
                                                                        JOSEPH FREDA, C.P.A./763-4056
      42 S. Arlington Ave., E. Orange               OFA                 75 S. Orange Ave., So. Orange, NJ
                                                   FRIEND
    168                                                                 VILLAGE DREEGS OF SOUTH ORANGE.
                                                                        65 S. Orange Ave., So. Orange, NJ
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                To Our Newest Alumni,
                     Class o/'87
               Our Best Wishes For The Future
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                         Upsala College
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